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EFCOA.ELC



                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA



In re                                         :
                                                        Chapter 13
Gabriel Bravo                                 :

                                              :         Bankruptcy No. 21-12926

                                              :         Adversary No.

                                              :         Civil Action No. 22-4820


                  CERTIFICATE OF APPEAL FROM ORDERS OF
        THE BANKRUPTCY JUDGE DATED 10/18/2022 (#106) & 11/22/2022 (#118)
           ENTERED ON THE DOCKET 10/19/2022 (#106) & 11/22/2022 (#118)

               I, Timothy B. McGrath, Clerk of the U.S. Bankruptcy Court, Eastern District
of Pennsylvania, herewith electronically transmit the record on appeal filed 12/04/2022 and
certify that the above proceeding was properly before the Honorable Magdeline D.
Coleman, Bankruptcy Judge.


                                              For the Court

                                              Timothy B. McGrath
                                              Clerk

                                              By: _Antoinette Stevenson_
                                                    Deputy Clerk

Counsel of Record
                       David A. Scholl, Esquire

                       Law Office of David A. Scholl

                       512 Hoffman Street

                       Philadelphia, PA 19148

                       Counsel for Debtor*DEULHO%UDYR
                       Appellant

                       Justin L. Krik, Esquire
                       JLK Law PLLC d/b/a Krik Law
                       1500 JFK Blvd.
                       Suite 630
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           Philadelphia, PA 19102
           Counsel for Creditor E-Z Cashing, LLC

           Kenneth E. West, Esquire
           Office of the Chapter 13 Standing Trustee
           1234 Market Street
           Suite 1813
           Philadelphia, PA 19107
           Chapter 13 Trustee

           United States Trustee
           Office of the United States TrusteeRobert
           N.C. Nix Federal Building
           900 Market Street
           Suite 320
           Philadelphia, PA 19107
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                                                            Repeat−PAEB, RepeatPACER, APPEAL




                                  U.S. Bankruptcy Court
                      Eastern District of Pennsylvania (Philadelphia)
                          Bankruptcy Petition #: 21−12926−mdc
                                                                                 Date filed: 10/28/2021
Assigned to: Chief Judge Magdeline D. Coleman                  Deadline for filing claims: 01/06/2022
Chapter 13                                               Deadline for filing claims (govt.): 04/26/2022
Voluntary
Asset


Debtor                                             represented by DAVID A. SCHOLL
Gabriel Bravo                                                     Law Office of David A. Scholl
1168 South 9th Street                                             512 Hoffman Street
Philadelphia, PA 19147                                            Philadelphia, PA 19148
PHILADELPHIA−PA                                                   610 550 1765
SSN / ITIN: xxx−xx−6638                                           Email: judgescholl@gmail.com

Trustee                                            represented by KENNETH E. WEST
KENNETH E. WEST                                                   Office of the Chapter 13 Standing
Office of the Chapter 13 Standing Trustee                         Trustee
1234 Market Street − Suite 1813                                   1234 Market Street − Suite 1813
Philadelphia, PA 19107                                            Philadelphia, PA 19107
215−627−1377                                                      215−627−1377
                                                                  Fax : 215−627−6299
                                                                  Email: ecfemails@ph13trustee.com

U.S. Trustee
United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107
(215)597−4411

 Filing Date          #                                       Docket Text

                           1    Chapter 13 Voluntary Petition for Individual . Fee Amount $313 Filed by
                                Gabriel Bravo. Government Proof of Claim Deadline: 04/26/2022. Atty
                                Disclosure Statement due 11/12/2021. Chapter 13 Plan due by 11/12/2021.
                                Schedules AB−J due 11/12/2021. Statement of Financial Affairs due
                                11/12/2021. Summary of Assets and Liabilities Form B106 due
                                11/12/2021. Incomplete Filings due by 11/12/2021. (SCHOLL, DAVID)
 10/28/2021                     (Entered: 10/28/2021)

                           2    Matrix List of Creditors Filed. Number of pages filed: 2, Filed by DAVID
                                A. SCHOLL on behalf of Gabriel Bravo. (SCHOLL, DAVID) (Entered:
 10/28/2021                     10/28/2021)

                           3    Statement of Social Security Number Received. Filed by DAVID A.
                                SCHOLL on behalf of Gabriel Bravo. (SCHOLL, DAVID) (Entered:
 10/28/2021                     10/28/2021)

                                                                                                           1
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                        Receipt of Voluntary Petition (Chapter 13)( 21−12926) [misc,volp13a] (
                        313.00) Filing Fee. Receipt number AXXXXXXXX. Fee Amount $ 313.00.
10/28/2021              (re: Doc# 1) (U.S. Treasury) (Entered: 10/28/2021)

                   4    Certificate of Credit Counseling Filed by DAVID A. SCHOLL on behalf
10/28/2021              of Gabriel Bravo. (SCHOLL, DAVID) (Entered: 10/28/2021)

                   5    Order Entered the debtor having failed to file or submit with the petition
                        all of the documents required by Fed. R. Bankr.P.1007, It is hereby
                        ORDERED that this case MAY BE DISMISSED WITHOUT
                        FURTHER NOTICE if the documents listed are not filed by deadlines
                        listed: Means Test Calculation Form 122C−2 −If Applicable− Due:
                        11/12/2021. Chapter 13 Statement of Your Current Monthly Income and
                        Calculation of Commitment Period Form 122C−1 Due 11/12/2021. Atty
                        Disclosure Statement due 11/12/2021. Chapter 13 Plan due by 11/12/2021.
                        Schedules AB−J due 11/12/2021. Statement of Financial Affairs due
                        11/12/2021. Summary of Assets and Liabilities Form B106 due
                        11/12/2021. Any request for an extension of time must be filed prior to the
10/29/2021              expiration of the deadlines listed. (D., Tasha) (Entered: 10/29/2021)

                        Name of Trustee assigned to case: KENNETH E. WEST. (D., Tasha)
10/29/2021              (Entered: 10/29/2021)

                   6    Motion to Extend Automatic Stay Filed by Gabriel Bravo Represented by
                        DAVID A. SCHOLL (Counsel). (SCHOLL, DAVID) (Entered:
10/29/2021              10/29/2021)

                   7    Notice of (related document(s): 6 Motion to Extend Automatic Stay ) Filed
                        by Gabriel Bravo. Hearing scheduled 11/23/2021 at 10:30 AM at nix2 −
10/29/2021              Courtroom #2. (SCHOLL, DAVID) (Entered: 10/29/2021)

                   8    BNC Certificate of Mailing − Voluntary Petition. Number of Notices
                        Mailed: (related document(s) (Related Doc # 5)). No. of Notices: 1. Notice
10/31/2021              Date 10/31/2021. (Admin.) (Entered: 11/01/2021)

                   9    Entry/Notice of Appearance and Request for Notice by JUSTIN L. KRIK
                        Filed by JUSTIN L. KRIK on behalf of E−Z Cashing, LLC. (KRIK,
                        JUSTIN) **Modified on 11/2/2021−To add wording to reflect PDF**.
11/01/2021              (D., Tasha). (Entered: 11/01/2021)

                   10   Disclosure of Compensation of Attorney for Debtor in the amount of
                        $1000 Debtor Gabriel Bravo Filed by DAVID A. SCHOLL on behalf of
11/04/2021              Gabriel Bravo. (SCHOLL, DAVID) (Entered: 11/04/2021)

                   11   Response to Motion to Extend Automatic Stay filed by Debtor Gabriel
                        Bravo Filed by E−Z Cashing, LLC (related document(s)6). (Attachments:
                        # 1 Service List # 2 Proposed Order) (KRIK, JUSTIN) (Entered:
11/05/2021              11/05/2021)

                   12   Schedules A/B − J ,Summaries, and Statement of Financial Affairs Filed
                        by DAVID A. SCHOLL on behalf of Gabriel Bravo. (SCHOLL, DAVID)
11/05/2021              (Entered: 11/05/2021)

                   13   Chapter 13 Statement of Your Current Monthly Income and Calculation of
                        Commitment Period for 3 Years Form 122C−1. Disposable Income Is
                        Determined Filed by DAVID A. SCHOLL on behalf of Gabriel Bravo.
11/05/2021              (SCHOLL, DAVID) (Entered: 11/05/2021)



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                   14   Chapter 13 Plan Filed by Gabriel Bravo. (SCHOLL, DAVID) (Entered:
11/05/2021              11/05/2021)

                   15   Meeting of Creditors. The Debtor has filed a Plan. This Plan proposes
                        payment to the trustee of $100.00 per month for 36 months. Filed by
                        KENNETH E. WEST. 341(a) meeting to be held on 12/15/2021 at 09:30
                        AM at ALTERNATE TELEPHONIC CONFERENCE (For Trustee Use
                        Only). Objection to Dischargeability of Certain Debts due: 2/13/2022.
                        Proofs of Claims due by 1/6/2022. Government Proof of Claim Deadline:
                        04/26/2022. Last day to Object to Confirmation 12/27/2021.Confirmation
                        Hearing scheduled 1/6/2022 at 09:30 AM at nix2 − Courtroom #2.
11/10/2021              (WEST, KENNETH) (Entered: 11/10/2021)

                   16   BNC Certificate of Mailing − Meeting of Creditors. Number of Notices
                        Mailed: (related document(s) (Related Doc # 15)). No. of Notices: 11.
11/12/2021              Notice Date 11/12/2021. (Admin.) (Entered: 11/13/2021)

                   17   The upcoming 341(a) meeting is scheduled to be held remotely..For
                        participation by telephone, please call and to join the meeting.. More
                        information can be found in the attached pdf document.. (WEST,
11/15/2021              KENNETH) (Entered: 11/15/2021)

                   18   Objection to Claim Number 1 by Claimant EZ Cashing, LLC. Filed by
11/19/2021              Gabriel Bravo. (SCHOLL, DAVID) (Entered: 11/19/2021)

                   19   Notice of Objection to claim of EZ Cashing, LLC Filed by Gabriel Bravo
                        (related document(s)18). Hearing scheduled 1/5/2022 at 10:30 AM at nix2
11/19/2021              − Courtroom #2. (SCHOLL, DAVID) (Entered: 11/19/2021)

                   20   Hearing RESCHEDULED 6 Motion to Extend Automatic Stay Filed by
                        Gabriel Bravo Represented by DAVID A. SCHOLL (Counsel). Hearing
                        scheduled 1/6/2022 at 11:00 AM at nix2 − Courtroom #2. (G., Eileen)
11/22/2021              (Entered: 11/22/2021)

                   21   Hearing RESCHEDULED on 18 Objection to Claim Number 1 by
                        Claimant EZ Cashing, LLC. Filed by Gabriel Bravo. filed by Debtor
                        Gabriel Bravo. Hearing RE−scheduled 1/6/2022 at 11:00 AM at nix2 −
11/22/2021              Courtroom #2. (G., Eileen) (Entered: 11/22/2021)

                   22   Hearing Continued on 6 Motion to Extend Automatic Stay Filed by
                        Gabriel Bravo Represented by DAVID A. SCHOLL (Counsel).Hearing
                        scheduled 1/6/2022 at 11:00 AM at nix2 − Courtroom #2. (G., Eileen)
11/23/2021              (Entered: 11/23/2021)

                   23   Order entered Granting Motion to Extend Automatic Stay(Related Doc #
                        6. A further hearing on the Motion shall be held on January 6, 2022, at
                        11:00 AM in Bankruptcy Courtroom No. 2, Robert N.C. Nix Federal
                        Building & Courthouse, 900 Market Street, Second Floor, Philadelphia
                        Pennsylvania to consider further extension of the automatic stay. Counsel
                        for Debtor shall serve this Order on all interested parties by Electronic
11/23/2021              Means and/or first class mail. (D., Virginia) (Entered: 11/23/2021)

                   24   Hearing Set 6 Motion to Extend Automatic Stay Filed by Gabriel Bravo
                        Represented by DAVID A. SCHOLL (Counsel). Hearing scheduled
                        1/6/2022 at 11:00 AM at nix2 − Courtroom #2. (D., Virginia) (Entered:
11/23/2021              11/23/2021)

11/24/2021         25


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                        BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                        (related document(s) (Related Doc # 20)). No. of Notices: 2. Notice Date
                        11/24/2021. (Admin.) (Entered: 11/25/2021)

                   26   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 23)). No. of Notices: 11. Notice Date 11/25/2021.
11/25/2021              (Admin.) (Entered: 11/26/2021)

                   27   Monthly Operating Report for Filing Period Initial Certification of
                        Business Debtor Filed by DAVID A. SCHOLL on behalf of Gabriel
11/30/2021              Bravo. (SCHOLL, DAVID) (Entered: 11/30/2021)

                   28   Monthly Operating Report for Filing Period November, 2021 Filed by
                        DAVID A. SCHOLL on behalf of Gabriel Bravo. (SCHOLL, DAVID)
12/07/2021              (Entered: 12/07/2021)

                   29   Response to Objection to Claim filed by Debtor Gabriel Bravo Filed by
                        E−Z Cashing, LLC (related document(s)18). (Attachments: # 1 Exhibit # 2
12/13/2021              Proposed Order # 3 Service List) (KRIK, JUSTIN) (Entered: 12/13/2021)

                        Meeting of Creditors Held and Concluded on: 12/15/2021. (WEST,
12/16/2021              KENNETH) (Entered: 12/16/2021)

                   30   Amended Chapter 13 Plan Filed by Gabriel Bravo (related
12/21/2021              document(s)14). (SCHOLL, DAVID) (Entered: 12/21/2021)

                   31   Amended Schedule J − Your Expenses Filed by DAVID A. SCHOLL on
12/21/2021              behalf of Gabriel Bravo. (SCHOLL, DAVID) (Entered: 12/21/2021)

                   32   Exhibit EXHIBITS IN SUPPORT OF MOTION TO EXTEND STAY.
                        COPIES HAVE BEEN PROVIDED TO RESPONDENT. D−1, D−2, D−3.
                        Filed by DAVID A. SCHOLL on behalf of Gabriel Bravo (related
01/05/2022              document(s)6). (SCHOLL, DAVID) (Entered: 01/05/2022)

                   33   Certificate of Service of Motion to Extend Automatic Stay and Court's
                        Order of November 23, 2021 Filed by DAVID A. SCHOLL on behalf of
                        Gabriel Bravo (related document(s)6). (SCHOLL, DAVID) (Entered:
01/05/2022              01/05/2022)

                   34   Confirmation Hearing scheduled 2/10/2022 at 09:30 AM at Courtroom #2.
01/06/2022              (D., Tasha) (Entered: 01/06/2022)

                   35   Hearing Continued on 6 Motion to Extend Automatic Stay Filed by
                        Gabriel Bravo Represented by DAVID A. SCHOLL (Counsel). filed by
                        Debtor Gabriel Bravo. Trial scheduled 2/15/2022 at 01:00 PM at
01/06/2022              Courtroom #2. (D., Tasha) (Entered: 01/06/2022)

                   36   Hearing Continued on 18 Objection to Claim Number 1 by Claimant EZ
                        Cashing, LLC. Filed by Gabriel Bravo. filed by Debtor Gabriel Bravo.
                        Trial scheduled 2/15/2022 at 01:00 PM at Courtroom #2. (D., Tasha)
01/06/2022              (Entered: 01/06/2022)

                   37   Proposed Order Re: Continuing Hearing and Extending Stay Filed by
                        DAVID A. SCHOLL on behalf of Gabriel Bravo (related document(s)6).
01/07/2022              (SCHOLL, DAVID) (Entered: 01/07/2022)

01/10/2022         38


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                        Order: It is hereby ORDERED that pending further order of this court the
                        automatic stay is EXTENDED with respect to all creditors who were
                        served with the Motion or Notice of the Motion and shall remain in effect
                        until February 15, 2022, unless modified by the court in accordance with
                        11 U.S.C. section 362(d) and Bankruptcy Rule 4001(a) and a further
                        hearing on the Motion shall be held on February 15, 2022, at 1:00 PM in
                        Bankruptcy Courtroom No. 2 to consider further extension of the
                        automatic stay. (related document(s)6). (S., Antoinette) (Entered:
                        01/10/2022)

                   39   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 38)). No. of Notices: 1. Notice Date 01/12/2022. (Admin.)
01/12/2022              (Entered: 01/13/2022)

                   40   Order governing procedures at evidentiary hearing conducted remotely by
                        video conference. (related document(s)6, 18). (S., Antoinette) (Entered:
01/23/2022              01/24/2022)

                   41   Entry of Appearance and Request for Notice by PAMELA ELCHERT
                        THURMOND Filed by PAMELA ELCHERT THURMOND on behalf of
                        CITY OF PHILADELPHIA. (THURMOND, PAMELA) **Modified on
                        1/25/2022 to change text to match PDF document.** (S., Antoinette).
01/24/2022              (Entered: 01/24/2022)

                   42   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 40)). No. of Notices: 1. Notice Date 01/26/2022. (Admin.)
01/26/2022              (Entered: 01/27/2022)

                   43   Pre−Trial Statement Filed by DAVID A. SCHOLL on behalf of Gabriel
02/10/2022              Bravo. (SCHOLL, DAVID) (Entered: 02/10/2022)

                   44   Document in re: Part II of Two Parts.Pre−Trial Statement including
                        Exhibit and Witness Lists(see Part I) Filed by DAVID A. SCHOLL on
                        behalf of Gabriel Bravo (related document(s)6). (SCHOLL, DAVID)
02/10/2022              (Entered: 02/10/2022)

                   45   Confirmation Hearing Continued on 15 Confirmation Hearing scheduled
                        3/10/2022 at 09:30 AM at Courtroom #2. (S., Antoinette) (Entered:
02/10/2022              02/10/2022)

                   46   **INCORRECT ENTRY−WRONG CASE NUMBER ON
                        ATTACHMENT**Pre−Trial Statement Filed by JUSTIN L. KRIK on
                        behalf of E−Z Cashing, LLC. (KRIK, JUSTIN) Modified on 2/11/2022
02/10/2022              (S., Antoinette). (Entered: 02/10/2022)

                   47   Motion to Sell Filed by Gabriel Bravo Represented by DAVID A.
02/12/2022              SCHOLL (Counsel). (SCHOLL, DAVID) (Entered: 02/12/2022)

                   48   Notice of (related document(s): 47 Motion to Sell ) Motion for Permission
                        to Sell Real Estate Filed by Gabriel Bravo. Hearing scheduled 3/8/2022 at
02/13/2022              11:30 AM at Courtroom #2. (SCHOLL, DAVID) (Entered: 02/13/2022)

                   49   Order: It is hereby ORDERED that pending further order of this court, the
                        automatic stay is EXTENDED with respect to all creditors who were
                        served with the Motion or Notice of the Motion and shall remain in effect
                        until March 8, 2022, unless modified by the court and a further hearing is
                        scheduled for 3/8/2022 at 11:30 AM at Courtroom #2. re:6 (S., Antoinette)
02/15/2022              (Entered: 02/16/2022)


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                   50   Evidentiary Hearing held and hrg Continued on 6 Motion to Extend
                        Automatic Stay Filed by Gabriel Bravo Represented by DAVID A.
                        SCHOLL (Counsel).. Hearing scheduled 3/8/2022 at 11:30 AM at
                        Courtroom #2. (simultaneous briefs to be filed by 3/1/22 5 p.m.) (G.,
02/15/2022              Eileen) (Entered: 02/16/2022)

                   51   Evidentiary Hearing Held on 18 Objection to Claim Number 1 by
                        Claimant EZ Cashing, LLC. Filed by Gabriel Bravo. filed by Debtor
                        Gabriel Bravo (related document(s),18). Held Under Advisement;
                        simultaneous briefs to be filed by 3/18/22 5:00 p.m. (G., Eileen) (Entered:
02/15/2022              02/16/2022)

                   52   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 49)). No. of Notices: 1. Notice Date 02/18/2022. (Admin.)
02/18/2022              (Entered: 02/19/2022)

                   53   Brief in Support of Motion to Extend Automatic Stay Filed by DAVID A.
                        SCHOLL on behalf of Gabriel Bravo (related document(s)6). (SCHOLL,
03/01/2022              DAVID) (Entered: 03/01/2022)

                   54   Response to Motion to Sell filed by Debtor Gabriel Bravo Filed by CITY
                        OF PHILADELPHIA (related document(s)47). (Attachments: # 1
03/02/2022              Certificate of Service) (THURMOND, PAMELA) (Entered: 03/02/2022)

                   55   Motion to Compel Responses to Discovery to E−Z Cashing, LLC Filed by
                        Gabriel Bravo Represented by DAVID A. SCHOLL (Counsel).
                        (Attachments: # 1 Exhibit Discovery) (SCHOLL, DAVID) (Entered:
03/04/2022              03/04/2022)

                   56   Notice of (related document(s): 55 Motion to Compel Responses to
                        Discovery to E−Z Cashing, LLC) Filed by Gabriel Bravo. Hearing
                        scheduled 3/29/2022 at 10:30 AM at Courtroom #2. (SCHOLL, DAVID)
                        **Modified on 3/7/2022−See corrective entry dated 3/7/2022.** (S.,
03/04/2022              Antoinette). (Entered: 03/04/2022)

                   57   Monthly Operating Report for Filing Period December 2021 − February
                        2022 (12/21, 01/22, 02/22) Filed by DAVID A. SCHOLL on behalf of
03/05/2022              Gabriel Bravo. (SCHOLL, DAVID) (Entered: 03/05/2022)

                   58   Pre−Confirmation Certification of Compliance with Post Petition
                        Obligations in Accordance with 11 U.S.C. Section 1325 (a)(8) and (a)(9)
                        Filed by DAVID A. SCHOLL on behalf of Gabriel Bravo (related
03/05/2022              document(s)30). (SCHOLL, DAVID) (Entered: 03/05/2022)

                        Corrective Entry re: Changed text from telephone hearing to courtroom
                        location #2 per PDF document. (related document(s)56). (S., Antoinette)
03/07/2022              (Entered: 03/07/2022)

                   59   Hearing Continued on 47 Motion to Sell Filed by Gabriel Bravo
                        Represented by DAVID A. SCHOLL (Counsel).. Hearing scheduled
                        4/5/2022 at 11:00 AM at Courtroom #2. (G., Eileen) (Entered:
03/08/2022              03/08/2022)

                   60   Hearing Continued on 6 Motion to Extend Automatic Stay Filed by
                        Gabriel Bravo Represented by DAVID A. SCHOLL (Counsel). Hearing
                        scheduled 4/5/2022 at 11:00 AM at Courtroom #2. (G., Eileen) (Entered:
03/08/2022              03/08/2022)



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                   61   Order: It is hereby ORDERED that pending further order of this court, the
                        automatic stay is EXTENDED with respect to all creditors who were
                        served with the Motion or Notice of the Motion and shall remain in effect
                        until April 5, 2022, unless modified by the court and a further hearing is
                        scheduled for 4/5/2022 at 11:30 AM at Courtroom #2. (related
03/08/2022              document(s)6). (S., Antoinette) (Entered: 03/08/2022)

                   62   Confirmation Hearing Continued on 15 Confirmation Hearing scheduled
                        4/7/2022 at 09:30 AM at Courtroom #2. (S., Antoinette) (Entered:
03/10/2022              03/10/2022)

                   63   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 61)). No. of Notices: 0. Notice Date 03/10/2022. (Admin.)
03/10/2022              (Entered: 03/11/2022)

                   64   Brief of Debtor Addressing His Objections to the Proof of Claim of E−Z
                        Cashing, LLC Filed by DAVID A. SCHOLL on behalf of Gabriel Bravo.
03/18/2022              (SCHOLL, DAVID) (Entered: 03/18/2022)

                   65   Brief in Opposition to Debtor's Objections Filed by JUSTIN L. KRIK on
                        behalf of E−Z Cashing, LLC (related document(s) 51 ). (KRIK, JUSTIN)
03/18/2022              (Entered: 03/18/2022)

                   66   Second Amended Chapter 13 Plan Filed by Gabriel Bravo (related
03/22/2022              document(s)30). (SCHOLL, DAVID) (Entered: 03/22/2022)

                   67   Certificate of Service of Motion to compel Discovery from E−Z Cashing,
                        LLC Filed by DAVID A. SCHOLL on behalf of Gabriel Bravo (related
03/23/2022              document(s)55). (SCHOLL, DAVID) (Entered: 03/23/2022)

                   68   Certificate of No Response to Debtor's Motion Compel Discovery from
                        E−Z Cashing, LLC Filed by DAVID A. SCHOLL on behalf of Gabriel
                        Bravo (related document(s)55). (SCHOLL, DAVID) (Entered:
03/23/2022              03/23/2022)

                   69   Response to Motion to Compel filed by Debtor Gabriel Bravo Filed by
                        E−Z Cashing, LLC (related document(s)55). (Attachments: # 1 Exhibit
03/24/2022              Discovery Responses) (KRIK, JUSTIN) (Entered: 03/24/2022)

                   70   Hearing Continued on 55 Motion to Compel Responses to Discovery to
                        E−Z Cashing, LLC Filed by Gabriel Bravo Represented by DAVID A.
                        SCHOLL (Counsel). . Hearing scheduled 4/7/2022 at 11:00 AM at
03/29/2022              Courtroom #1. (G., Eileen) (Entered: 03/29/2022)

                   71   Objection to Confirmation of Plan Filed by PAMELA ELCHERT
                        THURMOND on behalf of CITY OF PHILADELPHIA (related
                        document(s)66). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Certificate
03/30/2022              of Service) (THURMOND, PAMELA) (Entered: 03/30/2022)

                   72   **INCORRECT ENTRY**Response to Response filed by Creditor E−Z
                        Cashing, LLC Withdrawn Filed by E−Z Cashing, LLC (related
                        document(s)11). (KRIK, JUSTIN) **Modified on 4/5/2022−This entry has
                        been re docketed using the correct event code.** (S., Antoinette).
04/04/2022              (Entered: 04/04/2022)

04/04/2022         73   **CORRECT ENTRY**Praecipe to Withdraw E−Z Cashing, LLC's
                        Response to Debtor's Motion for Continuance of the Stay beyond thirty
                        (30) day period Filed by JUSTIN L. KRIK on behalf of E−Z Cashing,


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                       LLC (related document(s)11). (S., Antoinette) (Entered: 04/05/2022)

                  74   Hearing Continued on 47 Motion to Sell Filed by Gabriel Bravo
                       Represented by DAVID A. SCHOLL (Counsel). Bravo. Hearing
                       scheduled 6/2/2022 at 11:00 AM at Courtroom #2. (G., Eileen) (Entered:
04/05/2022             04/05/2022)

                  75   Hearing Held on 6 Motion to Extend Automatic Stay Filed by Gabriel
                       Bravo Represented by DAVID A. SCHOLL (Counsel). (related
04/05/2022             document(s),6). ORDER to be entered (G., Eileen) (Entered: 04/05/2022)

                  76   Order: It is hereby ORDERED that the Motion is GRANTED. It is hereby
                       ORDERED that the automatic stay in this case is extended beyond thirty
                       (30) days after the duration of this case as to ALL creditors of the Debtor
                       unless relief from same is granted. (Related Doc # 6 (S., Antoinette)
04/05/2022             (Entered: 04/05/2022)

                  77   Order: It is Ordered, Adjudged and Decreed that the Motion to Compel the
                       First Set of Requests for Discovery is DENIED WITHOUT PREJUDICE.
04/07/2022             (Related Doc # 55, 69) (S., Antoinette) (Entered: 04/07/2022)

                  78   Confirmation Hearing Continued on 15 Confirmation Hearing scheduled
                       6/2/2022 at 09:30 AM at Courtroom #2. (S., Antoinette) (Entered:
04/07/2022             04/07/2022)

                  79   Hearing Held on 55 Motion to Compel Responses to Discovery to E−Z
                       Cashing, LLC Filed by Gabriel Bravo Represented by DAVID A.
                       SCHOLL (Counsel). Motion denied. Order to be entered. (S., Antoinette)
04/07/2022             (Entered: 04/07/2022)

                  80   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 76)). No. of Notices: 1. Notice Date 04/07/2022. (Admin.)
04/07/2022             (Entered: 04/08/2022)

                  81   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 77)). No. of Notices: 1. Notice Date 04/09/2022. (Admin.)
04/09/2022             (Entered: 04/10/2022)

                  82   Confirmation Hearing Continued on 15 Confirmation Hearing scheduled
                       7/14/2022 at 09:30 AM at Courtroom #2. (S., Antoinette) (Entered:
06/02/2022             06/02/2022)

                  83   Hearing Continued on 47 Motion to Sell Filed by Gabriel Bravo
                       Represented by DAVID A. SCHOLL (Counsel). Hearing scheduled
                       6/30/2022 at 11:00 AM at Courtroom #2. (S., Antoinette) (Entered:
06/02/2022             06/02/2022)

                  84   **INCORRECT**Amended Document SCHEDULE A/B: PROPERTY
                       Filed by DAVID A. SCHOLL on behalf of Gabriel Bravo (related
                       document(s)76). (SCHOLL, DAVID) Modified on 6/30/2022 (J., Randi).
06/29/2022             (Entered: 06/29/2022)

                  85   **CORRECT** Schedule A/B , Schedule C Filed by DAVID A.
06/29/2022             SCHOLL on behalf of Gabriel Bravo . (J., Randi) (Entered: 06/30/2022)

06/30/2022        86   Hearing Held on 47 Motion to Sell Filed by Gabriel Bravo Represented by
                       DAVID A. SCHOLL (Counsel). filed by Debtor Gabriel Bravo (related
                       document(s),47). Motion to sell withdrawn. (D., Tasha) (Entered:

                                                                                                     8
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                       06/30/2022)

                  87   Confirmation Hearing scheduled 8/18/2022 at 11:00 AM at Courtroom #2.
07/14/2022             (D., Tasha) (Entered: 07/14/2022)

                  88   Second Motion to Sell Property Under Section 363(b), Rule 3004 Filed by
                       Gabriel Bravo Represented by DAVID A. SCHOLL (Counsel).
07/20/2022             (SCHOLL, DAVID) (Entered: 07/20/2022)

                  89   Notice of (related document(s): 88 Second Motion to Sell Property Under
                       Section 363(b), Rule 3004 ) Filed by Gabriel Bravo. Hearing scheduled
                       8/18/2022 at 11:00 AM at Courtroom #2. (SCHOLL, DAVID) **Modified
                       on 7/21/2022−See corrective entry dated 7/21/2022.** (S., Antoinette).
07/20/2022             (Entered: 07/20/2022)

                       Corrective Entry re: Changed location per PDF document. (related
07/21/2022             document(s)89). (S., Antoinette) (Entered: 07/21/2022)

                  90   Confirmation Hearing scheduled 9/15/2022 at 11:00 AM at Courtroom #2.
08/18/2022             (D., Tasha) (Entered: 08/18/2022)

                  91   Hearing Continued on 88 Second Motion to Sell Property Under Section
                       363(b), Rule 3004 Filed by Gabriel Bravo Represented by DAVID A.
                       SCHOLL (Counsel). filed by Debtor Gabriel Bravo. Hearing scheduled
                       9/15/2022 at 11:00 AM at Courtroom #2. (D., Tasha) (Entered:
08/18/2022             08/18/2022)

                  92   Confirmation Hearing scheduled 9/29/2022 at 11:00 AM at Courtroom #2.
09/15/2022             (D., Tasha) (Entered: 09/15/2022)

                  93   Hearing Continued on 88 Second Motion to Sell Property Under Section
                       363(b), Rule 3004 Filed by Gabriel Bravo Represented by DAVID A.
                       SCHOLL (Counsel). filed by Debtor Gabriel Bravo. Hearing scheduled
                       9/29/2022 at 11:00 AM at Courtroom #2. (D., Tasha) (Entered:
09/15/2022             09/15/2022)

                  94   Exhibit Agreement of Sale of 1122 South 9th St., Philaelphia, PA. 18147
                       Filed by DAVID A. SCHOLL on behalf of Gabriel Bravo (related
09/28/2022             document(s)88). (SCHOLL, DAVID) (Entered: 09/28/2022)

                  95   Confirmation Hearing Continued on 15 Confirmation Hearing scheduled
                       10/6/2022 at 11:00 AM at Courtroom #2. (S., Antoinette) (Entered:
09/29/2022             09/29/2022)

                  96   Hearing Continued on 88 Second Motion to Sell Property Under Section
                       363(b), Rule 3004 Filed by Gabriel Bravo Represented by DAVID A.
                       SCHOLL (Counsel). Hearing scheduled 10/6/2022 at 11:00 AM at
09/29/2022             Courtroom #2. (S., Antoinette) (Entered: 09/29/2022)

                  97   Application for Compensation for DAVID A. SCHOLL, Debtor's
                       Attorney, Period: 10/6/2021 to 10/5/2022, Fee: $20,000, Expenses: $.
                       Filed by DAVID A. SCHOLL Represented by Self(Counsel). (SCHOLL,
10/05/2022             DAVID) (Entered: 10/05/2022)

                  98   Notice of (related document(s): 97 Application for Compensation for
                       DAVID A. SCHOLL, Debtor's Attorney, Period: 10/6/2021 to 10/5/2022,
                       Fee: $20,000, Expenses: $.) Filed by Gabriel Bravo. (SCHOLL, DAVID)
10/05/2022             (Entered: 10/05/2022)

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                  99    Proposed Order Re: Order to Sell Real Estate and to Distribute Proceeds
                        Filed by DAVID A. SCHOLL on behalf of Gabriel Bravo (related
10/05/2022              document(s)88). (SCHOLL, DAVID) (Entered: 10/05/2022)

                  100   Praecipe to Withdraw Objection to Sale Motion Filed by PAMELA
                        ELCHERT THURMOND on behalf of CITY OF PHILADELPHIA
                        (related document(s)54). (THURMOND, PAMELA) (Entered:
10/06/2022              10/06/2022)

                  101   Confirmation Hearing Continued on 15 Confirmation Hearing scheduled
                        11/17/2022 at 09:30 AM at Courtroom #2. (S., Antoinette) (Entered:
10/06/2022              10/06/2022)

                  102   Hearing Held on 88 Second Motion to Sell Property Under Section
                        363(b), Rule 3004 Filed by Gabriel Bravo Represented by DAVID A.
                        SCHOLL (Counsel). (related document(s),88). Settled. Order to be
10/06/2022              submitted. (S., Antoinette) (Entered: 10/06/2022)

                  103   Proposed Consent Order RE: Second Motion to Sell Real Estate and to
                        Distribute Proceeds Filed by DAVID A. SCHOLL on behalf of Gabriel
                        Bravo (related document(s)88). (SCHOLL, DAVID) (Entered:
10/13/2022              10/13/2022)

                  104   Order entered granting Second Motion to sell real estate and to distribute
10/17/2022              proceeds. (Related Doc 88) (S., Antoinette) (Entered: 10/17/2022)

                  105   Third Amended Chapter 13 Plan Filed by Gabriel Bravo (related
10/18/2022              document(s)66). (SCHOLL, DAVID) (Entered: 10/18/2022)

                  106   Order: It is hereby ORDERED and DETERMINED that the Claim
                        Objection is OVERRULED. (related document(s)18). (S., Antoinette)
10/18/2022              (Entered: 10/19/2022)

                  107   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 104)). No. of Notices: 1. Notice Date 10/19/2022.
10/19/2022              (Admin.) (Entered: 10/20/2022)

                  108   Objection to Confirmation of Plan Filed by PAMELA ELCHERT
                        THURMOND on behalf of CITY OF PHILADELPHIA (related
                        document(s)105). (Attachments: # 1 Certificate of Service)
10/20/2022              (THURMOND, PAMELA) (Entered: 10/20/2022)

                  109   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 106)). No. of Notices: 0. Notice Date 10/21/2022.
10/21/2022              (Admin.) (Entered: 10/22/2022)

                  110   Certificate of No Response to Application of Debtor's Counsel for
                        Compensation Filed by DAVID A. SCHOLL on behalf of Gabriel Bravo
10/30/2022              (related document(s)97). (SCHOLL, DAVID) (Entered: 10/30/2022)

                  111   Motion to Reconsider (related documents Order (Generic)) Order of
                        October 18, 2022 Filed by Gabriel Bravo Represented by DAVID A.
                        SCHOLL (Counsel) (related document(s)106). (SCHOLL, DAVID)
10/30/2022              (Entered: 10/30/2022)

10/30/2022        112   Notice of (related document(s): 111 Motion to Reconsider (related
                        documents Order (Generic)) Order of October 18, 2022) Filed by Gabriel
                        Bravo. Hearing scheduled 11/22/2022 at 10:30 AM at Courtroom #2.

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                        (SCHOLL, DAVID) **Modified on 10/31/2022−See corrective entry
                        dated 10/31/2022.** (S., Antoinette). (Entered: 10/30/2022)

                        Corrective Entry re: Corrected hearing location from telephonic to
                        courtroom #2 per PDF document. (related document(s)112). (S.,
10/31/2022              Antoinette) (Entered: 10/31/2022)

                  113   Monthly Operating Report for Filing Period March 2022 − November
                        2022 Filed by DAVID A. SCHOLL on behalf of Gabriel Bravo.
11/09/2022              (SCHOLL, DAVID) (Entered: 11/09/2022)

                  114   Response to Motion to Reconsider filed by Debtor Gabriel Bravo Filed by
                        E−Z Cashing, LLC (related document(s)111). (Attachments: # 1 Proposed
11/15/2022              Order # 2 Service List) (KRIK, JUSTIN) (Entered: 11/15/2022)

                  115   Confirmation Hearing Continued on 15 Confirmation Hearing scheduled
                        12/8/2022 at 11:00 AM at Courtroom #2. (S., Antoinette) (Entered:
11/17/2022              11/17/2022)

                  116   Hearing Held on 111 Motion to Reconsider (related documents Order
                        (Generic)) Order of October 18, 2022 Filed by Gabriel Bravo Represented
                        by DAVID A. SCHOLL (Counsel) (related document(s)106). (related
                        document(s),111). ORDER to be submitted (G., Eileen) (Entered:
11/22/2022              11/22/2022)

                  117   Proposed Order Re: Motion for Reconsideration Filed by DAVID A.
                        SCHOLL on behalf of Gabriel Bravo (related document(s)111).
11/22/2022              (SCHOLL, DAVID) (Entered: 11/22/2022)

                  118   Order: It is hereby ORDERED as follows the Motion is GRANTED as to
                        the $500 payment made by the Debtor to E. Z. Cashing, LLC in
                        November 2021. The Debtor shall be given credit for that payment at
                        settlement. For the reasons stated on the record at that hearing, in all other
                        respects, the Motion is DENIED. (Related Doc # 111) (S., Antoinette)
11/22/2022              (Entered: 11/22/2022)

                  119   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 118)). No. of Notices: 1. Notice Date 11/24/2022.
11/24/2022              (Admin.) (Entered: 11/25/2022)

                  120   Notice of Appeal to District Court. . Fee Amount $298.00 Filed by
                        Gabriel Bravo (related document(s)118, 106). Appellant Designation due
                        by 12/19/2022. Transmission of record on appeal to District Court Due
12/04/2022              Date:01/3/2023. (SCHOLL, DAVID) (Entered: 12/04/2022)

                        Receipt of Notice of Appeal( 21−12926−mdc) [appeal,ntcapl] ( 298.00)
                        Filing Fee. Receipt number AXXXXXXXX. Fee Amount $ 298.00. (re: Doc#
12/04/2022              120) (U.S. Treasury) (Entered: 12/04/2022)

                  121   Court's Certificate of Mailing of Notice of Appeal. Number of Notices: 7.
                        Sent to: Judge Magdeline D. Coleman (via Courtroom Deputy). David A.
                        Scholl, Esquire, Kenneth E. West, Esquire/Trustee, Justin L. Krik,
                        Esquire, U.S. District Court, U.S. Trustee−mailed electronically. Gabriel
                        Bravo, Debtor−mailed through the BNC. (related document(s)120). (S.,
12/05/2022              Antoinette) (Entered: 12/05/2022)

                  122   Electronic Transmission to District Court re: Notice of Appeal. (related
12/05/2022              document(s)120). (S., Antoinette) (Entered: 12/05/2022)


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                  123   Notice of Docketing Record on Appeal to District Court. Civil Action
                        Case Number: 22−4820, assigned to Judge John M. Younge. (related
12/05/2022              document(s)120). (S., Antoinette) (Entered: 12/05/2022)

                  124   BNC Certificate of Mailing − PDF Document. (related document(s)
                        (Related Doc # 121)). No. of Notices: 1. Notice Date 12/07/2022.
12/07/2022              (Admin.) (Entered: 12/08/2022)

                  125   Confirmation Hearing Continued on 15 Confirmation Hearing scheduled
                        12/22/2022 at 11:00 AM at Courtroom #2. (S., Antoinette) (Entered:
12/08/2022              12/08/2022)

                  126   Status Report Re: 104 Order entered granting Second Motion to sell real
                        estate and to distribute proceeds. (Related Doc 88) (S., Antoinette) Filed
                        by DAVID A. SCHOLL on behalf of Gabriel Bravo (related
12/13/2022              document(s)104). (SCHOLL, DAVID) (Entered: 12/13/2022)

                  127   Appellant Designation of Contents For Inclusion in Record On Appeal
                        Filed by Gabriel Bravo. Appellee designation due by 12/29/2022.
                        Transmission of Designation Due by 01/17/2023. (SCHOLL, DAVID)
12/15/2022              (Entered: 12/15/2022)

                  128   Appellant Designation of Contents For Inclusion in Record On Appeal
                        Designation of Issues Filed by Gabriel Bravo. Appellee designation due
                        by 12/29/2022. Transmission of Designation Due by 01/17/2023.
12/15/2022              (SCHOLL, DAVID) (Entered: 12/15/2022)

                  129   13 Confirmation Hearing Continued 15 . Confirmation Hearing scheduled
                        1/26/2023 at 11:00 AM at Courtroom #2. (W., Christine) (Entered:
12/22/2022              12/22/2022)

                  130   Objection to Confirmation of Plan Filed by KENNETH E. WEST (related
                        document(s)105). (Attachments: # 1 Proposed Order)(WEST,
12/23/2022              KENNETH) (Entered: 12/23/2022)

                  131   Certificate of Service Filed by KENNETH E. WEST on behalf of
                        KENNETH E. WEST (related document(s)130). (WEST, KENNETH)
12/23/2022              (Entered: 12/23/2022)

                  132   Motion to Dismiss Case. There has been unreasonable delay by debtor(s)
                        that is prejudicial to creditors pursuant to 11 U.S.C. Section 1307(c)(1).
                        Filed by KENNETH E. WEST Represented by KENNETH E. WEST
                        (Counsel). (Attachments: # 1 Proposed Order # 2 Service List) (WEST,
12/28/2022              KENNETH) (Entered: 12/28/2022)

                  133   Notice of (related document(s): 132 Motion to Dismiss Case. There has
                        been unreasonable delay by debtor(s) that is prejudicial to creditors
                        pursuant to 11 U.S.C. Section 1307(c)(1). ) Filed by KENNETH E.
                        WEST. Hearing scheduled 1/26/2023 at 11:00 AM at Courtroom #2.
12/28/2022              (WEST, KENNETH) (Entered: 12/28/2022)

                  134   Order Re: As set forth in the Reconsideration Order, because Claimant
                        acknowledged that a Post−Judgment Payment the Debtor made in the
                        amount of $500.00 in November 2021 was not credited, the Debtor shall
                        be given credit for that payment. (related document(s)118, 111). (W.,
12/30/2022              Christine) (Entered: 12/30/2022)

01/01/2023        135


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                    BNC Certificate of Mailing − PDF Document. (related document(s)
                    (Related Doc # 134)). No. of Notices: 1. Notice Date 01/01/2023.
                    (Admin.) (Entered: 01/02/2023)




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Case 21-12926-mdc   Doc 127 Filed
      Case 2:22-cv-04820-KBH      12/15/22
                             Document   2-1 Entered  12/15/22Page
                                             Filed 01/03/23   10:55:35   Desc Main
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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE EASTERN
                               DISTRICT OF PENNSYLVANIA

 In Re: GABRIEL BRAVO,                                    :   CHAPTER 13
                 Debtor                                   : BANKRUPTCY NO. 21-12926


  APPELLANT'S DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON
                               APPEAL

              GABRIEL BRAVO (“the Appellant”) )now comes and designates the following

       items to be included in the Record of this matter on appeal:

 NO. ON DOCKET            ITEM


              Docket Entries in bankruptcy case


              Proof of Claim of E-Z Cashing, LLC, Claim No. 1


      18      Objection to Proof of Claim of E-Z Cashing, LLC, No. 1


       29     Response to Objection to Claim


       43 & 44Pre-Trial Statement of Debtor with Exhibits


       46     Pre-Trial Statement of E-Z Cashing, LLC


       50     Transcript of Zoom Hearing on Objection to Claim


       64     Brief of Debtor Addressing Objection to Claim


       65     Brief in Opposition to Debtor’s Objection


       100    Order that the Objection is Overruled


       111     Motion to Reconsider Order of October 18, 2022




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Case 21-12926-mdc   Doc 127 Filed
      Case 2:22-cv-04820-KBH      12/15/22
                             Document   2-1 Entered  12/15/22Page
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       114   Response to Motion to Reconsider


       116   Transcript of Hearing on Motion to Reconsider


       118   Order that Motion to Reconsider Is Granted in Part


       120   Notice of Appeal




                                                 ________________________________

                                                 /s/DAVID A. SCHOLL


                                                 512 Hoffman Street


                                                 Philadelphia, PA 19148


                                                 610-550-1765
                                                 Attorney for Debtor/Appellant




                                                                                     14
Case 21-12926-mdc   Doc 128 Filed
      Case 2:22-cv-04820-KBH      12/15/22
                             Document   2-1 Entered  12/15/22Page
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                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE EASTERN
                                 DISTRICT OF PENNSYLVANIA

 In Re: GABRIEL BRAVO,                                    :   CHAPTER 13
                 Debtor                                   : BANKRUPTCY NO. 21-12926


     APPELLANT'S DESIGNATION OF ISSUES TO BE PRESENTED ON APPEAL

                GABRIEL BRAVO (“the Appellant”) now comes and designates the following

        issues to be presented by him in this matter on appeal:

            1. Whether the bankruptcy court correctly determined that res judicata barred the
 Debtor from arguing that the court should consider or credit the payments that the Debtor made
 to the creditor during two prior bankruptcy cases.


            2. Whether the failure to credit payments made to the creditor by the Debtor during
 the two prior bankruptcy cases constituted such improper and fraudulent conduct that res judicata
 should not have been applied in favor of the creditor.




                                                      ________________________________


                                                      /s/ DAVID A. SCHOLL
                                                      512 Hoffman Street
                                                      Philadelphia, PA 19148
                                                      610-550-1765
                                                      Attorney for Debtor/Appellant




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                            Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 19 of 388

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 Part 1:        Identify the Claim

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                                      3KLODGHOSKLD               3$           
                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                    /DNHZRRG                   1-           
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                                      &RQWDFWSKRQH 
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                                      &RQWDFWHPDLO MNULN#NULNODZFRP
                                                      BBBBBBBBBBBBBBBBBBBBBBBB                                  &RQWDFWHPDLO FR MNULN#NULNODZFRP
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                                      8QLIRUPFODLPLGHQWLILHUIRUHOHFWURQLFSD\PHQWVLQFKDSWHU LI\RXXVHRQH 

                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


 'RHVWKLVFODLPDPHQG             ✔ 1R
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   RQHDOUHDG\ILOHG"
                                      <HV &ODLPQXPEHURQFRXUWFODLPVUHJLVWU\ LINQRZQ BBBBBBBB                                )LOHGRQ BBBBBBBBBBBBBBBBBBBBBBBB
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 'R\RXNQRZLIDQ\RQH             ✔ 1R
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   HOVHKDVILOHGDSURRI             <HV :KRPDGHWKHHDUOLHUILOLQJ" BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
   RIFODLPIRUWKLVFODLP"




 2IILFLDO)RUP                                                         3URRIRI&ODLP                                                            SDJH 
                      Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 20 of 388


 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

 'R\RXKDYHDQ\QXPEHU        ✔ 1R
                                 
   \RXXVHWRLGHQWLI\WKH        <HV/DVWGLJLWVRIWKHGHEWRU¶VDFFRXQWRUDQ\QXPEHU\RXXVHWRLGHQWLI\WKHGHEWRUBBBBBBBBBBBBBBBB
   GHEWRU"



 +RZPXFKLVWKHFODLP"                             'RHVWKLVDPRXQWLQFOXGHLQWHUHVWRURWKHUFKDUJHV"
                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                               1R
                                                                              ✔ <HV$WWDFKVWDWHPHQWLWHPL]LQJLQWHUHVWIHHVH[SHQVHVRURWKHU
                                                                              
                                                                                       FKDUJHV UHTXLUHGE\%DQNUXSWF\5XOH F  $ 


 :KDWLVWKHEDVLVRIWKH      ([DPSOHV*RRGVVROGPRQH\ORDQHGOHDVHVHUYLFHVSHUIRUPHGSHUVRQDOLQMXU\RUZURQJIXOGHDWKRUFUHGLWFDUG
   FODLP"
                                 $WWDFKUHGDFWHGFRSLHVRIDQ\GRFXPHQWVVXSSRUWLQJWKHFODLPUHTXLUHGE\%DQNUXSWF\5XOH F 
                                 /LPLWGLVFORVLQJLQIRUPDWLRQWKDWLVHQWLWOHGWRSULYDF\VXFKDVKHDOWKFDUHLQIRUPDWLRQ

                                 0RQH\ ORDQHG DQG &RQVHQW -XGJPHQW
                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



 ,VDOORUSDUWRIWKHFODLP    1R
   VHFXUHG"                      ✔ <HV 7KH FODLPLVVHFXUHGE\DOLHQRQSURSHUW\
                                 
                                           1DWXUHRISURSHUW\
                                           ✔ 5HDOHVWDWH,IWKHFODLPLVVHFXUHGE\WKHGHEWRU¶VSULQFLSDOUHVLGHQFHILOHDMortgage Proof of Claim
                                           
                                                             Attachment 2IILFLDO)RUP$ ZLWKWKLV Proof of Claim.
                                            0RWRUYHKLFOH
                                            2WKHU'HVFULEH              6RXWK WK 6WUHHW 3KLODGHOSKLD 3$ 
                                                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



                                           %DVLVIRUSHUIHFWLRQ         &RQVHQW -XGJPHQW RQ 0RUWJDJH
                                                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           $WWDFKUHGDFWHGFRSLHVRIGRFXPHQWVLIDQ\WKDWVKRZHYLGHQFHRISHUIHFWLRQRIDVHFXULW\LQWHUHVW IRU
                                           H[DPSOHDPRUWJDJHOLHQFHUWLILFDWHRIWLWOHILQDQFLQJVWDWHPHQWRURWKHUGRFXPHQWWKDWVKRZVWKHOLHQKDV
                                           EHHQILOHGRUUHFRUGHG



                                           9DOXHRISURSHUW\                                
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                                           $PRXQWRIWKHFODLPWKDWLVVHFXUHG              
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                                           $PRXQWRIWKHFODLPWKDWLVXQVHFXUHGBBBBBBBBBBBBBBBBBB 7KHVXPRIWKHVHFXUHGDQGXQVHFXUHG
                                                                                                      DPRXQWVVKRXOGPDWFKWKHDPRXQWLQOLQH



                                           $PRXQWQHFHVVDU\WRFXUHDQ\GHIDXOWDVRIWKHGDWHRIWKHSHWLWLRQ           BBBBBBBBBBBBBBBBBBBB


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                                           $QQXDO,QWHUHVW5DWH ZKHQFDVHZDV ILOHG BBBBBBB
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 2IILFLDO)RUP                                                  3URRIRI&ODLP                                                         SDJH 
                      Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 21 of 388


 ,VDOORUSDUWRIWKHFODLP    ✔ 1R
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    HQWLWOHGWRSULRULW\XQGHU
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   $FODLPPD\EHSDUWO\                   'RPHVWLFVXSSRUWREOLJDWLRQV LQFOXGLQJDOLPRQ\DQGFKLOGVXSSRUW XQGHU
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   QRQSULRULW\)RUH[DPSOH
   LQVRPHFDWHJRULHVWKH                 8SWR RI GHSRVLWVWRZDUG SXUFKDVHOHDVHRUUHQWDORI SURSHUW\RU VHUYLFHVIRU
   ODZOLPLWVWKHDPRXQW                      SHUVRQDOIDPLO\ RUKRXVHKROGXVH86& D                                            BBBBBBBBBBBBBBBBBBBB
   HQWLWOHGWRSULRULW\
                                           :DJHVVDODULHVRUFRPPLVVLRQV XSWR HDUQHG ZLWKLQ GD\VEHIRUHWKH
                                              EDQNUXSWF\SHWLWLRQLVILOHGRUWKHGHEWRU¶VEXVLQHVVHQGVZKLFKHYHU LVHDUOLHU                  BBBBBBBBBBBBBBBBBBBB
                                              86& D  
                                           7D[HVRUSHQDOWLHVRZHG WRJRYHUQPHQWDOXQLWV86& D                                   BBBBBBBBBBBBBBBBBBBB

                                           &RQWULEXWLRQVWR DQHPSOR\HH EHQHILWSODQ86& D                                       BBBBBBBBBBBBBBBBBBBB

                                           2WKHU6SHFLI\VXEVHFWLRQRI86& D BB WKDWDSSOLHV                                      BBBBBBBBBBBBBBBBBBBB

                                           $PRXQWVDUH VXEMHFWWRDGMXVWPHQWRQ DQGHYHU\ \HDUVDIWHU WKDW IRUFDVHVEHJXQRQRU DIWHU WKHGDWHRI DGMXVWPHQW



 Part 3:    Sign Below

 7KHSHUVRQFRPSOHWLQJ           Check the appropriate box:
 WKLVSURRIRIFODLPPXVW
 VLJQDQGGDWHLW           ,DPWKHFUHGLWRU
 )5%3 E                ✔ ,DPWKHFUHGLWRU¶VDWWRUQH\RUDXWKRUL]HGDJHQW
                              
 ,I\RXILOHWKLVFODLP       ,DPWKHWUXVWHHRUWKHGHEWRURUWKHLUDXWKRUL]HGDJHQW%DQNUXSWF\5XOH
 HOHFWURQLFDOO\)5%3
  D  DXWKRUL]HVFRXUWV
                               ,DPDJXDUDQWRUVXUHW\HQGRUVHURURWKHUFRGHEWRU%DQNUXSWF\5XOH
 WRHVWDEOLVKORFDOUXOHV
 VSHFLI\LQJZKDWDVLJQDWXUH
 LV                              ,XQGHUVWDQGWKDWDQDXWKRUL]HGVLJQDWXUHRQWKLVProof of ClaimVHUYHVDVDQDFNQRZOHGJPHQWWKDWZKHQFDOFXODWLQJWKH
                                  DPRXQWRIWKHFODLPWKHFUHGLWRUJDYHWKHGHEWRUFUHGLWIRUDQ\SD\PHQWVUHFHLYHGWRZDUGWKHGHEW
 $SHUVRQZKRILOHVD
 IUDXGXOHQWFODLPFRXOGEH       ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLVProof of ClaimDQGKDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXH
 ILQHGXSWR           DQGFRUUHFW
 LPSULVRQHGIRUXSWR
 \HDUVRUERWK
                                  ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW
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                                          6LJQDWXUH

                                  3ULQWWKHQDPHRIWKHSHUVRQZKRLVFRPSOHWLQJDQGVLJQLQJWKLVFODLP


                                  1DPH                  -XVWLQ                         /HH                         .ULN
                                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                        )LUVWQDPH                  0LGGOHQDPH                  /DVWQDPH

                                  7LWOH                  $WWRUQH\ IRU (= &DVKLQJ //&
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                                  &RPSDQ\                -/. /DZ 3//& GED .ULN /DZ
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                                                        ,GHQWLI\WKHFRUSRUDWHVHUYLFHUDVWKHFRPSDQ\LIWKHDXWKRUL]HGDJHQWLVDVHUYLFHU



                                  $GGUHVV                -). %OYG 6WH 
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 2IILFLDO)RUP                                                         3URRIRI&ODLP                                                                 SDJH 
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                             ,QUH%UDYR±PGF
                       3UH3HWLWLRQ±DOOFKDUJHVWKURXJK
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    &RQVHQW-XGJPHQW                                     
            ZLWK5HDVVHVVHG'DPDJHVSHU2UGHU 
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Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
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Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
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                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
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Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
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                                     11/16/18   Filed 01/03/23
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                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
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                                     11/16/18   Filed 01/03/23
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                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
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Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
                                    09/10/19
                                     11/16/18   Filed 01/03/23
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Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
                                    09/10/19
                                     11/16/18   Filed 01/03/23
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                                                           Document   of 38825
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Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
                                    09/10/19
                                     11/16/18   Filed 01/03/23
                                                DescMain       Page 34Page
                                                      MainDocument
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                                                                       Page  29ofof58
                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
                                    09/10/19
                                     11/16/18   Filed 01/03/23
                                                DescMain       Page 35Page
                                                      MainDocument
                                                           Document   of 38827
                                                                       Page  30ofof58
                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
                                    09/10/19
                                     11/16/18   Filed 01/03/23
                                                DescMain       Page 36Page
                                                      MainDocument
                                                           Document   of 38828
                                                                       Page  31ofof58
                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
                                    09/10/19
                                     11/16/18   Filed 01/03/23
                                                DescMain       Page 37Page
                                                      MainDocument
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                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
                                    09/10/19
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                                                DescMain       Page 38Page
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                                                                       Page  33ofof58
                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
                                    09/10/19
                                     11/16/18   Filed 01/03/23
                                                DescMain       Page 39Page
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                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
                               Filed       2-1 Desc
                                    09/10/19
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                                                      MainDocument
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                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
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                                                      MainDocument
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                                                                       Page  36ofof58
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Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
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                                                                       Page  37ofof58
                                                                                    61
Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
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                                                                       Page  38ofof58
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Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
                            7 Filed
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                                    09/10/19
                                     11/16/18   Filed 01/03/23
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                                                      MainDocument
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                                                                       Page  39ofof58
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Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
      18-15931-mdc   Claim
                      Claim7-1 Document
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Case   Case 2:22-cv-04820-KBH
 Case18-15931-mdc
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 Case18-15931-mdc
      18-15931-mdc   Claim
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 Case18-15931-mdc
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 Case18-15931-mdc
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 Case18-15931-mdc
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 Case18-15931-mdc
      18-15931-mdc   Claim
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        5HDVVHVV'DPDJHVDQG'HEWRU¶V$QVZHUWKHUHWRZLWK1HZ0DWWHUUDLVLQJLGHQWLFDO

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       EDUUHGE\UHVMXGLFDWDDQGFROODWHUDOHVWRSSHO

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       WRZKLFKQRUHVSRQVHLVUHTXLUHG:LWKRXWZDLYHUDQGE\ZD\RIIXUWKHUUHVSRQVHWKH

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                    UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
IN RE:                                     : CHAPTER 13
                                           : NO: 18-15931-mdc
       GABRIEL BRAVO                      :
                  Debtor,                  :
__________________________________________:

             PRE-TRIAL STATEMENT OF CREDITOR, E-Z CASHING LLC

       Pursuant to this Honorable Court’s Order dated January 23, 2022, governing procedures

at evidentiary hearing conducted remotely by video conference, Creditor, E-Z Cashing LLC, by

its counsel, submits the following:

       1.     Remote Witness List

               a. Joel Weiser, as Member of Creditor, E-Z Cashing LLC
                        i. Summary of anticipated testimony: Mr. Weiser will testify as to the
                            amount of the creditor’s claim, payments made thereon following the
                            State Court’s reassessment of damages on 6/21/21. Mr. Weiser may
                            testify in defense of Debtor’s claims of stay relief violation. Mr.
                            Weiser may testify as to any and all matters concerning the debt,
                            underlying judgment, execution proceedings, and status of the
                            Creditor’s rights.
                       ii. Email address: weislk77@gmail.com
                      iii. Location: Lakewood, NJ USA
                      iv. Place from which testimony will take place: Office
                       v. Person(s) present during testimony: None other than named witness
                      vi. Access to documents other than exhibits on Exhibit List: No. Witness
                            reserves the right to access all documents and exhibits offered or
                            introduced by Debtor.

               b. Gabriel Bravo, Debtor herein.
                       i. Summary of anticipated testimony: Unknown. See Debtor’s Pre-Trial
                           Statement.
                      ii. Email address: gabrielbravo007@gmail.com
                     iii. Location: Philadelphia, PA USA
                     iv. Place from which testimony will take place: Unknown
                      v. Person(s) present during testimony: Potentially Guadalupe Bravo,
                           Debtor’s spouse and tenant-by-the-entirety in ownership of the subject
                           property with Debtor.
                     vi. Access to documents other than exhibits on Exhibit List: Unknown.




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            c. Other attendees to trial:
                    i. Diana Thompson (non-speaker), Paralegal to Justin L. Krik, Esquire.
                   ii. Email address: dthompson@kriklaw.com
                  iii. Location: Williamstown, NJ USA
                  iv. Place from which testimony will take place: N/A
                   v. Person(s) present during testimony: N/A
                  vi. Access to documents other than exhibits on Exhibit List: No

            d. Creditor reserves the right to call on cross-examination any witnesses called
                by Debtor in its case in chief for rebuttal purposes.

      2.   Documents

            a. All filings and docket entries, including, but not limited to, Debtor’s Chapter

               13 Petition and Schedules, as amended, as well as various pleadings filed in

               the matter of In Re: Gabriel Bravo, 21-12926-mdc. Namely:

                     i. C-1 - Debtor’s Chapter 13 Petition filed on 10/28/21 [Docket #1];
                    ii. C-2 - Debtor’s Motion to Extend Stay filed on 10/29/21 [Docket # 6];
                  iii. C-3 - Creditor’s Response to Motion to Extend filed on 11/5/21
                         [Docket #11];
                   iv. C-4 - Debtor’s Schedules A/B-J filed on 11/5/21 [Docket #12], as
                         amended on 12/21/21 [Docket #31];
                    v. C-5 - Debtor’s Objection to Claim filed on 11/19/21 [Docket #18];
                   vi. C-6 - Creditor’s Response to Objection filed on 12/13/21 [Docket
                         #29]; and
                  vii. C-7 - Debtor’s Amended Chapter 13 Plan filed on 12/21/21 [Docket
                         #30].
                     The above items have not been served in accordance with footnote 5 of
                     the Order Governing Procedures.

            b. Proof of Claim [Claim Number 1] filed on 11/1/21 in the instant case;

            c. All filings and docket entries, including, but not limited to, pleadings and

               orders filed in the matter of E-Z Cashing LLC v. Gabriel Bravo, et al.,

               Philadelphia County Court of Common Pleas June Term, 2015; No.: 00453.

               Namely:

                    i. C-8 - Creditor’s Motion to Reassess Damages filed on 2/23/21;
                   ii. C-9 - Debtor’s Response to Motion to Reassess filed on 3/11/21;




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                  iii. C-10 - Order reassessing damages entered by the Honorable Paula
                        Patrick dated June 2, 2021; and
                  iv. C-11 - Civil Docket in the matter of E-Z Cashing LLC v. Gabriel
                        Bravo, et al., Philadelphia County Court of Common Pleas June Term,
                        2015; No.: 00453.

            d. All filings and docket entries, including, but not limited to, Debtor’s Chapter

               13 Petition and Schedules, as amended, as well as various pleadings filed in

               the matter of In Re: Gabriel Bravo, 18-15931-mdc. Namely:

                     i. C-12 - Debtor’s Chapter 13 Petition filed on 9/7/18 [Docket #1];
                    ii. C-13 - Debtor’s Schedules A/B-J filed on 9/15/18 [Docket #9];
                  iii. C-14 - Debtor’s Objection to Claim of E-Z Cashing filed on 9/14/19
                         [Docket #58];
                   iv. C-15 - Debtor’s Third Amended Chapter 13 Plan file on 6/24/20
                         [Docket #111];
                    v. C-16 - Debtor’s Supporting Brief field on 8/17/20 [Docket #127];
                   vi. C-17 - Creditor’s Response to Objection to Claim filed on 8/25/20
                         [Docket #128]; and
                  vii. C-18 - Order dismissing Chapter 13 bankruptcy filed on 11/5/20
                         [Docket #149].
                     The above items have not been served in accordance with footnote 5 of
                     the Order Governing Procedures.

            e. All filings and docket entries, including, but not limited to, various pleadings

               filed in the adversary matter of Bravo v. E-Z Cashing LLC, 19-00001-mdc.

               Namely:

                    i. C-19 - Debtor’s Adversary Complaint filed on 1/1/19 [Docket #1];
                   ii. C-20 - Creditor’s Answer to Complaint filed on 3/8/19 [Docket #5];
                  iii. C-21 - Creditor’s Motion to Take Judicial Notice filed on 3/8/19
                        [Docket #15]; and
                  iv. C-22 - Order granting Motion to Take Judicial Notice filed on
                        10/10/19 [Docket #27].
                     The above items have not been served in accordance with footnote 5 of
                     the Order Governing Procedures.

            f. C-23 – Sheriff’s Sale schedule for the Office of the Sheriff of Philadelphia

               County for the 2022 calendar year.




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            g. C-24 - The public records of the Office of Property Assessment of the City of

               Philadelphia for the property located at1122 South 9th Street, Philadelphia, PA

               19147.

            h. C-25 - The public records of the Office of Property Assessment of the City of

               Philadelphia for the property located at 1124 South 9th Street, Philadelphia,

               PA 19147.

            i. C-26 - Creditor’s Proof of Claim filed on 11/1/21 in In Re: Gabriel Bravo, 21-

               12926-mdc.

            j. C-27 - Receipt for Post Reassessment of Damages payment on 10-28-21.


            Creditor reserves the right to introduce any documents or evidence utilized or
            intended to be utilized by Debtor in its case in chief for rebuttal purposes.


                                                 Respectfully submitted,


                                                 BY:__/s/ Justin L. Krik____________
                                                    JUSTIN L. KRIK, ESQUIRE
                                                   ATTORNEY FOR CREDITOR
                                                    E-Z CASHING, LLC
DATE: February 10, 2022




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                            F. HEWITT
KRIK LAW
BY: JUSTIN L. KRIK, ESQUIRE
ATTORNEY ID NO: 203006
1500 JOHN F. KENNEDY BLVD., STE. 630                        ATTORNEY FOR PLAINTIFF
PHILADELPHIA, PA 19102                                      E-Z CASHING, LLC
PHONE: (267) 831-3180
FAX: (215) 309-5502

E-Z CASHING, LLC                            :      COURT OF COMMON PLEAS
                     Plaintiff,             :      PHILADELPHIA COUNTY
                                            :
                                            :
                                            :      JUNE TERM, 2015
                                            :
       v.                                   :      NO.: 00453
                                            :
GABRIEL BRAVO, ET AL                        :
                Defendants.                 :


                              CERTIFICATION OF SERVICE
       I hereby certify that a true and correct copy of the foregoing Motion to Reassess
Damages, attached Exhibits, Brief in Support thereof, proposed Order, and Certificate of Service
were sent via regular mail to the persons listed below on the date indicated:

Bank, Minehart & D’Angelo         Gabriel Bravo                  Guadalupe Bravo
John J. D’Angelo, Esquire         1168 South 9th Street          1168 South 9th Street
Attorney for Defendants           Philadelphia, PA 19147         Philadelphia, PA 19147
Gabriel Bravo and                 DQG                           DQG
Guadalupe Bravo                   6RXWKWK6WUHHW          6RXWKWK6WUHHW
540 South 11th Street             3KLODGHOSKLD3$        3KLODGHOSKLD3$
Philadelphia, PA 19147



                                                            KRIK LAW


                                                   BY:     /s/ Justin L. Krik
                                                         JUSTIN L. KRIK, ESQUIRE
                                                         ATTORNEY FOR PLAINTIFF
   DATE: February 23, 2021




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E-Z CASHING, LLC                              :    COURT OF COMMON PLEAS
                      Plaintiff,              :    PHILADELPHIA COUNTY
                                              :
                                              :
                                              :    JUNE TERM, 2015
                                              :
       v.                                     :    NO.: 00453
                                              :
GABRIEL BRAVO, ET AL                          :
                Defendants.                   :



                                          ORDER


       AND NOW, this                 day of                                      , 2021, upon

consideration of Plaintiff’s Motion to Reassess Damages and any response thereto, it is hereby:

       ORDERED and DECREED that the Office of Judicial Records is shall amend the in rem

judgment and the Sheriff is ORDERED to amend the writ nunc pro tunc in the amount of

$153,035.25, plus interest from February 23, 2021 and other costs and charges collectible under

the mortgage, fore foreclosure and sale of the mortgaged property.




                                                           BY THE COURT:




                                                                                 J.




                                                                                        Case ID: 150600453
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KRIK LAW
BY: JUSTIN L. KRIK, ESQUIRE
ATTORNEY ID NO: 203006
1500 JOHN F. KENNEDY BLVD., STE. 630                      ATTORNEY FOR PLAINTIFF
PHILADELPHIA, PA 19102                                    E-Z CASHING, LLC
PHONE: (267) 831-3180
FAX: (215) 309-5502

E-Z CASHING, LLC                           :       COURT OF COMMON PLEAS
                     Plaintiff,            :       PHILADELPHIA COUNTY
                                           :
                                           :
                                           :       JUNE TERM, 2015
                                           :
       v.                                  :       NO.: 00453
                                           :
GABRIEL BRAVO, ET AL                       :
                Defendants.                :


                   PLAINTIFF’S MOTION TO REASSESS DAMAGES

       COMES NOW Plaintiff E-Z CASHING, LLC (“Plaintiff”), by and through its

undersigned counsel, and hereby moves this Honorable Court to direct the Office of Judicial

Records to amend the judgment in this matter, nunc pro tunc, and avers as follows:

       1.    This is a straight forward in rem mortgage foreclosure action.

       2.    Plaintiff’s predecessor in interest initiated this civil action by the filing of a

Complaint in Foreclosure on June 3, 2015. The Complaint is incorporated herein by reference in

accordance with Pa. R.C.P. 1019(g). A true and correct copy of the Mortgage, recorded February

17, 2006 in Document Id: 51382000, redacted to remove confidential account information, is

attached hereto, made part hereof, and marked as Exhibit A. A redacted copy of the Promissory

Note is attached hereto, made part hereof, and marked as Exhibit B.

       3.    An in rem judgment was entered by Agreement on November 29, 2016 in favor of

the Plaintiff and against the Defendants in the amount of $105,613.62. A true and correct copy

of the Judgment is attached hereto, made part hereof, and marked as Exhibit B.

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       4.    A Praecipe for Writ of Execution was filed and a Sheriff’s sale was initially

scheduled for June 6, 2017. The Praecipe for Writ of Execution is incorporated herein by

reference in accordance with Pa. R.C.P. 1019(g).

       5.    The property was sold at the Sheriff’s sale held on June 6, 2017; however, on

August 15, 2017, Third Party Purchaser filed a Motion to Set Aside Sheriff’s Sale file while was

ultimately resolved by way of a stipulation to vacate the Sheriff’s sale and to relist the property

for another Sheriff’s sale. The Motion to Set Aside Sheriff’s sale and Stipulation to Vacate and

Relist are incorporated herein by reference in accordance with Pa. R.C.P. 1019(g).

       6.    The property was subsequently listed for the Sheriff’s sale scheduled for sale to be

held on January 9, 2018 which sale was continuously postponed September 11, 2018.

       7.    On September 7, 2018, four days before the scheduled Sheriff’s sale, Defendant

Gabriel Bravo filed a Chapter 13 Bankruptcy Petition in the United States Bankruptcy Court for

the Eastern District of Pennsylvania at Bankruptcy Case Number 18-159310-mdc.

       8.    The Sheriff’s sale scheduled for September 11, 2018 was stayed as a result of the

automatic bankruptcy stay.

       9.    On November 5, 2020, the Honorable Magdeline D. Coleman entered an order

dismissing the Chapter 13 Bankruptcy case. Plaintiff’s Suggestion of Bankruptcy Dismissal,

docketed January 14, 2021, is incorporated herein by reference in accordance with Pa. R.C.P.

1019(g).

       10.   Additional sums have been incurred or expended on Defendant’s behalf since the

Complaint was filed and Defendant has been given credit for any payments that have been made

since the judgment.

       11.   Plaintiff seeks amendment of the judgment to reflect the following updated

amounts:

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       Consent Judgment                                              $105,613.62
       Interest on Consent Judgment (11/1/16)                        $ 31,252.08
               ($19.83 per diem)
       Sub-Total                                                             $136,865.70

           Post-Consent Judgment Charges
           Advance of 2017 Real Estate Taxes (1/31/17)               $    2,488.89
              Interest at $0.466 per diem                            $      272.14
           Forced Place Insurance (3/3/17)                           $    4,339.00
                       Interest at $0.814                            $      450.14
       Attorney Fees                                                 $    7,823.78
       Inspection Fees                                               $      600.00
       Misc. Fees (title, Sheriff/foreclosure, BPO)                  $    3,075.60
       Sub-Total                                                             $ 19,049.55

       SUB-TOTAL                                                             $155,915.25

       Less Payments Received
       4 payments of $720.00 each                                    ($ 2,880.00)

       TOTAL                                                         $153,035.25


       12.    The judgment formerly entered is insufficient to satisfy the amounts due on the

Mortgage.

       13.    Under the terms of the Mortgage, Note and Pennsylvania law, Plaintiff is entitled

to the amendment of its judgment as set forth above.

       14.    Citations to the terms of the Mortgage and Note and legal authority in support of

the specific charges above are contained in Plaintiff’s attached brief.

       15.    Pennsylvania Rule of Civil Procedure 208.2(b) provides that a motion need not be

verified unless verification is required by general rule governing the particular motion or by

order of court. There is no state or local rule requiring verification for a Motion to Reassess

Damages.

       16.    Plaintiff now files this Motion to Reassess Damages.



       WHEREFORE, Plaintiff respectfully requests that this Honorable Court amend the
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Judgment as requested.

                                                KRIK LAW


                                         BY:     /s/ Justin L. Krik
                                               JUSTIN L. KRIK, ESQUIRE
                                               ATTORNEY FOR PLAINTIFF
   DATE: February 23, 2021




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PHILADELPHIA, PA 19102                                    E-Z CASHING, LLC
PHONE: (267) 831-3180
FAX: (215) 309-5502

E-Z CASHING, LLC                            :      COURT OF COMMON PLEAS
                      Plaintiff,            :      PHILADELPHIA COUNTY
                                            :
                                            :
                                            :      JUNE TERM, 2015
                                            :
       v.                                   :      NO.: 00453
                                            :
GABRIEL BRAVO, ET AL                        :
                Defendants.                 :


      BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO REASSESS DAMAGES

       COMES NOW Plaintiff E-Z CASHING, LLC (“Plaintiff”), by and through its

undersigned counsel, and hereby moves this Honorable Court to direct the Office of Judicial

Records to amend the judgment in this matter, nunc pro tunc, and in support thereof avers as

follows:

I.     STATEMENT OF QUESTION INVOLVED

       ISSUE: Whether, under well-settled Pennsylvania law, Plaintiff is entitled to amend its in
       rem judgment?

       ANSWER: Yes.

II.    PROCEDURAL AND FACTUAL HISTORY

       This is a straight-forward in rem mortgage foreclosure action. Plaintiff’s predecessor in

interest initiated this civil action by the filing of a Complaint in Foreclosure on June 3, 2015.

The Complaint is incorporated herein by reference in accordance with Pa. R.C.P. 1019(g). An in

rem judgment was entered by Agreement on November 29, 2016 in favor of the Plaintiff and



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against the Defendants in the amount of $105,613.62. A true and correct copy of the Judgment is

attached hereto, made part hereof, and marked as Exhibit A. A Praecipe for Writ of Execution

was filed and a Sheriff’s sale was initially scheduled for June 6, 2017. The Praecipe for Writ of

Execution is incorporated herein by reference in accordance with Pa. R.C.P. 1019(g). The

property was sold at the Sheriff’s sale held on June 6, 2017; however, on August 15, 2017, Third

Party Purchaser filed a Motion to Set Aside Sheriff’s Sale file while was ultimately resolved by

way of a stipulation to vacate the Sheriff’s sale and to relist the property for another Sheriff’s

sale. The Motion to Set Aside Sheriff’s sale and Stipulation to Vacate and Relist are incorporated

herein by reference in accordance with Pa. R.C.P. 1019(g).

       The property was subsequently listed for the Sheriff’s sale scheduled for sale to be held

on January 9, 2018 which sale was continuously postponed September 11, 2018. On September

7, 2018, four days before the scheduled Sheriff’s sale, Defendant Gabriel Bravo filed a Chapter

13 Bankruptcy Petition in the United States Bankruptcy Court for the Eastern District of

Pennsylvania at Bankruptcy Case Number 18-159310-mdc. The Sheriff’s sale scheduled for

September 11, 2018 was stayed as a result of the automatic bankruptcy stay. On November 5,

2020, the Honorable Magdeline D. Coleman entered an order dismissing the Chapter 13

Bankruptcy case. Plaintiff’s Suggestion of Bankruptcy Dismissal, docketed January 14, 2021, is

incorporated herein by reference in accordance with Pa. R.C.P. 1019(g). Additional sums have

been incurred or expended on Defendant’s behalf since the Complaint was filed and Defendant

has been given credit for any payments that have been made since the judgment. Plaintiff seeks

amendment of the judgment and now files this Motion to Reassess Damages.




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III.   LEGAL ANALYSIS

       A. Pennsylvania Law Permits Plaintiff to Amend its In Rem Judgment

       It is well-settled law in Pennsylvania that the Court may exercise its equitable powers to

control the enforcement of a judgment and to grant any relief until that judgment is satisfied. 20

P.L.E., Judgments § 191; Stephenson v. Butts, 187 Pa.Super. 55, 59, 142 A.2d 319, 321 (1958);

Chase Home Mortg. Corp. of the Soutwest v. Good, 537 A.2d 22, 24 (Pa.Super. 1988). The

Pennsylvania Superior Court has repeatedly cited t he right of a foreclosing creditor to amend its

judgment prior to the Sheriff’s sale. EMC Mortgage, LLC v. Biddle, 114 A.3d 1057 (2015);

Nationsbanc Mortg. Corp. v. Grillo, 827 A.2d 489 (Pa.Super. 2003); Morgan Guaranty Trust Co.

of N.Y. v. Mowl, 705 A.2d 923 (Pa.Super. 1998); Union National Bank of Pittsburgh v.

Ciongoli, 595 A.2d 179 (1991).

       The Supreme Court of Pennsylvania recognized in Landau v. Western Pa. Nat. Bank, 282

A.2d 335 (1971), that the debt owed on a Mortgage is subject to change and, in fact, can be

expected to change from day to day because the bank must advance sums in order to protect its

collateral. Plaintiff must protect its collateral up until the date of sale because a Mortgage lien is

not extinguished until the debt is paid. Beckman v. Altoona Trust Co., 332 Pa. 545, 2 A.2d 826

(1939). It is critical that the judgment reflect those amounts expended by the Plaintiff in

protecting the property because a judgment in mortgage foreclosure is strictly in rem. Meco

Reality Company v. Burns, 414 Pa. 495, 200 A.2d 335 (1971). Plaintiff submits that if it goes to

sale without the requested amended judgment, and if there is competitive bidding for the

Property, Plaintiff will suffer a significant loss in that it would not be able to recoup monies it

advances to protect its interests.

       In B.C.Y. v. Bukovich, the Pennsylvania Superior Court reiterated its long standing rule




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that a Court has the inherent power to correct a judgment to conform to the facts of a case. 257

Pa.Super. 157, 390 A.2d 276 (1978). In the within case, the amount of the original judgment

does not adequately reflect the additional sums due on the Mortgage due to Defendants’ failure

to tender payments during the foreclosure proceedings and the advances made by the Plaintiff.

The Mortgage plainly requires the mortgagor to tender to the mortgagee monthly payments of

principal and interest until the Promissory Note accompanying the Mortgage is paid in full. The

mortgagor is also required to remit to the mortgagee sufficient sums to pay monthly mortgage

insurance premiums, fire insurance premiums, taxes and other assessments relating to the

property. The mortgagor has breached the terms of the Mortgage and Plaintiff has been forced to

incur significant unjust financial losses as a result. Plaintiff will be severely prejudiced unless

Plaintiff’s in rem judgment is amended.

       B. The Foreclosure Judgment is In Rem Only

       The within case is a mortgage foreclosure action, the sole purpose of which is to take the

mortgaged property to Sheriff’s sale. Pennsylvania law makes clear that an action in mortgage

foreclosure is strictly in rem and does not include any personal liability. Newtown Village

Partnership v. Kimmel, 621 A.2d 1036, 1037 (1993); Signal Consumer Discount Company v.

Babuscio, 390 A.2d 266, 270 (1978); Pa. R.C.P. 1141(a).

       Nevertheless, Pennsylvania law requires that the foreclosure action demand judgment for

the amount due. See Pa. R.C.P. 1147(6). The primary purpose of the dollar amount in the in

rem judgment is for bidding at the Sheriff’s sale. In the event that the third party real estate

speculator were to bid on the mortgaged property at the Sheriff’s sale and become the successful

purchaser, Plaintiff would receive the amount of the in rem judgment from the Sheriff.




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       C. Interest

       The Mortgage clearly requires that the Defendants shall promptly pay when due the

principal and interest due on the outstanding debt. See Ex. A. In addition, paragraph one of the

Note specifies the rate of interest to be charged until the debt is paid in full or otherwise satisfied.

See Ex. B. Paragraph 5 of the Note provides for the interest to accrue at the default rate, or the

maximum rate allowed by law, after the entry of the judgment. See Ex. B.

       D. Attorney’s Fees

       The Plaintiff’s foreclosure fees are very modest. The foreclosure fees cover all of the

legal work performed throughout the course of the foreclosure action to date, including

reviewing breach notices, loan documents, account records, title reports and supporting

documents, preparing and reviewing the mortgage foreclosure complaint, filing and service of

the complaint, entry of judgment, the writ of execution process, lien holder notices, and all of the

additional legal work attributed to prosecuting a mortgage foreclosure lawsuit.

       Section 16.2 of the Mortgage specifically provides for Plaintiff’s recovery of its attorney

fees. The Mortgage states that Plaintiff is entitled to collect all expenses incurred in pursing this

mortgage foreclosure action.       This includes attorney fees incurred both before and after

judgment. If the parties had intended to limited Plaintiff’s recovery of attorney fees, the parties

would not have used the word “all”.          See Ex. A.      The Pennsylvania Superior Court has

interpreted this type of clause and concluded that it survived the judgment and that the lender is

entitled to amend its judgment to include post-judgment attorney fees and costs of suit. EMC

Mortgage, LLC v. Biddle, 2015 Pa.Super. 79, 114 A.3d 1057 (2015).

       The amount of attorney’s fees requested in the Motion to Reassess Damages is in

accordance with the loan documents and Pennsylvania law. Pennsylvania Courts have long and




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repeatedly concluded that a request of five percent of the outstanding principal balance is

reasonable and enforceable as an attorney’s fees. Robinson v. Loomis, 51 Pa. 78 (1865); First

Federal Savings and Bank of Baltimore v. Fetner, the Superior Court held that an attorney’s fee

of ten percent of the original mortgage amount is not unconscionable. 410 A.2d 344 (Pa. Super.

1979). The Superior Court cited Fetner in confirming that an attorney’s fee of ten percent

included in the judgment in a mortgage foreclosure action was reasonable.                  Citicorp v.

Morrisville Hampton Realty, 662 A.2d 1120 (Pa. Super. 1995). Plaintiff’s legal fees are not a

percentage, but are significantly less than what is permitted by Pennsylvania law.

       E. Cost of Suit and Title

        Pursuant to section 16.2 of the Mortgage, Plaintiff is entitled to recover all expenses

incurred in the foreclosure action. See Ex. A. This includes the costs of suit and title incurred

both before and after judgment. If the parties had intended to limited Plaintiff’s recovery of

costs of suit and title, the parties would not have used the word “all”. See Ex. A. The amount

claimed for the costs of suit and title are the expenses Plaintiff paid to date as a result of the

mortgage default. The Pennsylvania Superior Court has interpreted this type of clause and

concluded that it survives the entry of judgment and that the lender is entitled to amend its

judgment to include post-judgment attorney fees and costs of suit. EMC Mortgage, LLC v.

Biddle, 2015 Pa.Super. 79, 114 A3d 1057 (2015).

       The title report is necessary to determine the record owners of the property, as

Pennsylvania Rule of Civil Procedure 1144 requires all record owners to be named as

Defendants in the foreclosure action. It is also necessary to determine whether there are any

prior liens to be cleared, so that the Sheriff’s sale purchaser acquires clear title to the property. It

is necessary to determine whether there are any federal tax liens on the property, whether the




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Defendants are divorced (which could affect service of the complaint), and numerous other legal

issues. The title bring down is necessary to identify any new liens on the property or new

owners between the time of filing the complaint and the filing of the operative writ of execution.

        Accordingly, the modest sums Plaintiff has incurred for the costs of suit and title were

necessary pursuant to Pennsylvania law. The amounts were reasonable and actually incurred.

The mortgage and Pennsylvania law permit Plaintiff to recover these sums through its

foreclosure action; therefore, Plaintiff is entitled to recover the costs of suit and title in their

entirety.

IV.     RELIEF

         Plaintiff respectfully submits that if the enforcement of its rights is delayed by legal

proceedings, and such delays require the mortgagee to expend additional sums provided for by

the Mortgage, then the expenses necessarily become part of the mortgagee’s lien and should be

included in the judgment.



         WHEREFORE, Plaintiff respectfully requests that this Honorable Court amend the

Judgment as requested.

                                                            KRIK LAW


                                                     BY:     /s/ Justin L. Krik
                                                           JUSTIN L. KRIK, ESQUIRE
                                                           ATTORNEY FOR PLAINTIFF
      DATE: February 23, 2021




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                       EXHIBIT A

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                2EE*)/9.ÿ-Gÿ0D2Eÿ- .ÿ)00./ )/9.ÿHFÿ)IIÿ9-*/E.Iÿ-Gÿ.9- ÿ2Eÿ8)/ )0-Fÿ7I)2/02GGLE
                G)2I*.ÿ0-ÿ)77.)ÿC2IIÿ.E*I0ÿ2/ÿ)ÿM* +8./0ÿ-Gÿ/-/ÿ7-Eÿ./0.. ÿHFÿ0D.ÿ9-*0ÿ$ÿ0D.
                9-/G../9.ÿC2IIÿH.ÿ9-/ *90. ÿHFÿ)ÿM* +.ÿ-ÿ9)E.ÿ8)/)+.ÿ)EE2+/. ÿHFÿ0D.ÿ9-*0ÿJÿ)0
   456>9;ÿ@:;AB=0D.ÿ9-/G../9.ÿ9-*/E.Iÿ8*E0ÿH.ÿ7.7). ÿ0-ÿ) .EEÿ)IIÿ.I.3)/0ÿ2EE*.Eÿ.+) 2/+
                3./*.4ÿE.329.ÿ-Gÿ7-9.EE4ÿ7I.) 2/+E4ÿ2E9-3.F4ÿ7-EE2HI.ÿM-2/ .ÿ-Gÿ) 202-/)Iÿ7)02.E4
                0D.-2.Eÿ-GÿI2)H2I20Fÿ-ÿ.G./E.Eÿ)/ ÿ)8)+.Eÿ9I)28. ÿ,ÿ)0ÿ0D.ÿ9-/9I*E2-/ÿ-Gÿ0D.
                9-/G../9.ÿ)ÿ9)E.ÿ8)/)+.8./0ÿ- .ÿED)IIÿH.ÿ./0.. ÿCD29DÿC2IIÿ+-3./ÿ0D2Eÿ9)E.ÿ1
                )IIÿ)77I29)HI.ÿ7)0Eÿ-Gÿ0D.ÿ./9I-E. ÿ9-/G../9.ÿ8.8-)/ *8ÿED)IIÿH.ÿ9-87I.0. ÿ)/
                H-*+D0ÿ0-ÿ0D.ÿ9)E.ÿ8)/)+.8./0ÿ9-/G../9.ÿ&ÿ2Gÿ0D.ÿ9)E.ÿE.00I.Eÿ72-ÿ0-ÿ0D.
                9-/G../9.4ÿ7I.)E.ÿG)Nÿ)ÿ/-029.ÿ0-ÿE.)/ÿ8)9+.+-ÿ)0ÿ02,(1O1(,2$&ÿHFÿ0D.ÿ9-*06ÿG-N4ÿM
                O10&12,
   ÿ
   0&()*+(032,ÿ /-029.ÿ+23./ÿ*/ .ÿ*I.ÿ0$1            ÿ                                       ÿ0&()*+(032,ÿ
   236,,ÿ)8                                                                                      2060Jÿ78
   456>9;ÿ@:;AB=/-029.ÿ+23./ÿ-/ÿ0&()*+(032,ÿ-Gÿ- .ÿ./0.. 10$1ÿ/-029.ÿ+23./ÿ./0.. ÿ-/ÿ0&()*+(032,
   ÿ
   32(E.7(032,ÿ 7).927.ÿ0-ÿ.2/E0)0.ÿ987I0            C2II2)8E4ÿ-H.0ÿC                      ÿ32(E.7(032,ÿ
   2263Oÿ)8                                                                                      22622ÿ)8
     456789:;<= ÿPQRÿP30&,00,1Q)'J&&R                                                     ÿ
                 9%SÿPG2I. RÿP30$'$J'1Q)'J&&R
                                                                                                                                        Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 257 of 388




                9-87I)2/0ÿC20Dÿ/-029.ÿ0-ÿ.G./ ÿC20D2/ÿ0C./0FÿP03Rÿ)FEÿ)G0.ÿE.329.ÿ2/ÿ)99- )/9.ÿC20D
   456>9;ÿ@:;AB=*I.ÿ232O2ÿ.2/E0)0. ÿPG2I. ÿ-/ÿH.D)IGÿ-GÿH)F32.CÿI-)/ÿE.3292/+4ÿII94ÿ)ÿ.I)C).ÿI2820.
                I2)H2I20Fÿ9-R
   ÿ
   0'(E.7(032,ÿ )GG2)320ÿ-GÿE.329.ÿG2I.               ÿ                                       ÿ0'(E.7(032,ÿ
61111 !"#3$%                                                                     206
                                                                                                                                     &10'
01231004ÿ2602ÿ78                  Case 21-12926-mdc                Doc 46 Filed 02/10/229 Entered
                                                                                          ÿÿ02/10/22
                                                                                                            16:29:13   Desc Main
   3$6()ÿ78                                                              Document    Page 90 of 174  3(63*ÿ78
    +,-./01234 5 ÿÿ6                                                                                 ÿ
                5<<=5>=?ÿ@<ÿ6A>=9Aÿ@<ÿ75ÿ0ÿA=B4ÿ8@?ÿ<@Aÿ9@874ÿA<ÿ9A?ÿ?C5?ÿ7A8ÿÿA6ÿDÿ@EBÿ@99
   +,-702ÿ912:;4DÿAFÿ(ÿ9@Bÿ9@B<4=87ÿBÿG7@BÿH5I=AJÿI5>@ÿIKÿ@Bÿ3'1021032*ÿ<=JA 
   ÿ
   0'L6A7L032*ÿ 5<<=5>=?ÿ@<ÿ6A>=9Aÿ<=JA               ÿ                                           ÿ$3L6A7L032*ÿ
   3(63)ÿ78                                                                                          3'62$ÿ58
    +,-./01234 5 ÿÿ6                                                                                 ÿ
   +,-702ÿ912:;45<<=   5>=?ÿ@<ÿ6A>=9Aÿ@<ÿ75ÿ0ÿA=B4ÿ8@?ÿ<@Aÿ9@874ÿA<ÿ9A?ÿ?C5?ÿ7A8ÿÿA6ÿDÿ@EBÿ@99
                DÿAFÿ(ÿ9@Bÿ9@B<4=8ÿBÿG7@BÿHG5 5JG7AÿI5>@ÿIKÿ7A6@B5Jÿ6A>=9Aÿ@Bÿ3'1021032*ÿ<=JA 
   ÿ
   30L@9?L032*ÿ E5=?=BHÿ?@ÿJ=6?ÿ7AL?=5Jÿ9@B< <@M4ÿ=AAÿ9                                          ÿ30L@9?L032*ÿ
   306$2ÿ78                                                                                          306$2ÿ78
    +,-./01234 9JE72(                                                                                     ÿ
   +,-702ÿ912:;4=?ÿ=6ÿCAAIKÿ@ AA ÿ?C5?ÿ?CAÿ5I@>Aÿ957?=@BA ÿ85??Aÿ=6ÿ566=HBA ÿ?@ÿ?CAÿB@>A8IAÿ032)
                ?=5Jÿ7@@Jÿ?C=6ÿ85??Aÿ=6ÿ6GINA9?ÿ?@ÿOBAM?L5KOÿ95JJÿ?@ÿ?=5JÿA<<A9?=>Aÿ?CAÿ<=6?ÿ8@B 5Kÿ@<
                ?=5Jÿ7@@Jÿ8@B?Cÿ5JJÿ9@GB6AJÿ5B ÿ75?=A6ÿ8G6?ÿB@?=<Kÿ?CAÿ9@G?ÿ=BÿE=?=BHÿ@<ÿ5BK
                69CA GJ=BHÿ9@B<J=9?64ÿ=B9JG =BHÿ?=5Jÿ5??59C8AB?6ÿ5B ÿ7AL75=ÿ>595?=@B64ÿB@ÿJA66ÿ?C5B
                <=>AÿP*Qÿ5K6ÿIA<@Aÿ?CAÿ7@@Jÿ8@B?C4ÿ5B ÿ5AÿGB Aÿ5ÿ9@B?=BG=BHÿ@IJ=H5?=@Bÿ?@ÿB@?=<Kÿ?CA
                9@G?ÿ@<ÿ5BKÿ6GI6AFGAB?ÿ?=5Jÿ5??59C8AB?6ÿG=BHÿ?CAÿ?=5Jÿ7@@Jÿ8@B?Cÿ?CAÿ9@G?ÿE=JJ
                B@?ÿA9@HB=RAÿ5BKÿGB?=8AJKÿ9@B<J=9?ÿB@?=<=95?=@B6ÿ<5=JGAÿ?@ÿB@?=<Kÿ?CAÿ9@G?ÿ@<ÿ5BK
                69CA GJ=BHÿ9@B<J=9?6ÿE=JJÿA6GJ?ÿ=Bÿ?CAÿ=66G5B9Aÿ@<ÿ577@7=5?Aÿ65B9?=@B6ÿ5B ÿB@E4ÿ?C=6
                0B ÿ5Kÿ@<ÿ@9?@IA4ÿ032*4ÿ=?ÿ=6ÿ@ AA ÿ?C5?6ÿ2ÿ?CAÿ956Aÿ85B5HA8AB?ÿ5B ÿ?=8Aÿ6?5B 5 6
                5 @7?A ÿ<@ÿAM7A =?A ÿ?59Sÿ956A6ÿ6C5JJÿIAÿ577J=95IJAÿ?@ÿ?C=6ÿ956Aÿ5B ÿ5AÿCAAIK
                =B9@7@5?A ÿ=B?@ÿ?C=6ÿ@ Aÿ0ÿ5JJÿ=69@>AKÿ=Bÿ?CAÿ5I@>Aÿ85??Aÿ6C5JJÿIAÿ9@87JA?A ÿB@
                J5?Aÿ?C5Bÿ5GHG6?ÿ24ÿ032)ÿ$ÿ=67@6=?=>Aÿ8@?=@B6ÿ8G6?ÿIAÿ<=JA ÿB@ÿJ5?Aÿ?C5Bÿ6A7?A8IAÿ)4
                032)ÿ(ÿ5ÿ85B 5?@Kÿ7AL?=5Jÿ9@B<AAB9Aÿ6C5JJÿIAÿ69CA GJA ÿ5BKÿ?=8Aÿ5<?Aÿ@9?@IAÿ$4
                032)ÿ?ABÿP23Qÿ5K6ÿ7=@ÿ?@ÿ?CAÿ9@B<AAB9A4ÿ5JJÿ9@GB6AJÿ6C5JJÿ6A>AÿG7@Bÿ5JJÿ@77@6=BH
                                                                                                                                        Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 258 of 388




                9@GB6AJÿ5B 1@ÿ@77@6=BHÿ75?=A6ÿ5B ÿ<=JAÿE=?Cÿ?CAÿ9@G?4ÿ5ÿ7AL?=5Jÿ6A??JA8AB?
                8A8@5B G8ÿ9@B?5=B=BHÿ?CAÿ<@JJ@E=BH6ÿPQÿ5ÿ9@B9=6Aÿ6G885Kÿ@<ÿ?CAÿB5?GAÿ@<ÿ?CAÿ956Aÿ=<
                7J5=B?=<<ÿ@ÿ?CAÿA<AB6Aÿ=<ÿA<AB 5B?ÿ@ÿ5 =?=@B5JÿA<AB 5B?ÿP!Qÿ5ÿJ=6?ÿ@<ÿ5JJÿE=?BA66A6
                EC@ÿ85KÿIAÿ95JJA ÿ?@ÿ?A6?=<Kÿ5?ÿ?=5JÿIKÿB58Aÿ5B ÿ5 A66ÿPQÿ5ÿJ=6?ÿ@<ÿ5JJÿAMC=I=?6ÿ?CA
                75?Kÿ=B?AB 6ÿ?@ÿ@<<Aÿ=B?@ÿA>=AB9Aÿ9@GB6AJÿ6C@GJ ÿAM7A9?ÿ5BKÿAMC=I=?ÿB@?ÿJ=6?A ÿ?@ÿIA
                7A9JG A ÿ5?ÿ?=5JTÿPQÿA59Cÿ9@GB6AJÿ6C5JJÿ7@>=Aÿ5BÿA6?=85?Aÿ@<ÿ?CAÿ5B?=9=75?A ÿJABH?C
61111 !"#3$%                                                                     207
                                                                                                                                     &10'
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                         '(ÿ)*+,ÿ(+*,-.ÿ)'ÿ)*8.,/ÿ(*,.ÿ+ÿ7.0)*+,ÿ1.)),.8.2)ÿ9'2(..29.ÿ8.8'+2 -8ÿ8+/ÿ.1-,)
                         *2ÿ)3.ÿ*87'1*)*'2ÿ'(ÿ8'2.)+/ÿ1+29)*'21ÿ+,,ÿ8')*'21ÿ*2ÿ,*8*2.ÿ13+,,ÿ4.ÿ(*,. ÿ*2ÿ+99' +29.
                         5*)3ÿ.,.9)'2*9ÿ(*,*26ÿ7'9. -.1ÿ2')ÿ,+).ÿ)3+2ÿ)5.2)/ÿ7038ÿ+/1ÿ7*'ÿ)'ÿ)3.ÿ1)+)ÿ'(
                         )*+,ÿ.17'2 *26ÿ9'-21.,ÿ13+,,ÿ3+9.ÿ).2ÿ7238ÿ+/1ÿ)3..+().ÿ)'ÿ(*,.ÿ+2/ÿ.17'21.ÿ)3.
                         1)+)ÿ'(ÿ)3.ÿ)*+,ÿ*1ÿ.(*2. ÿ+1ÿ)3.ÿ(*1)ÿ+/ÿ'(ÿ)3.ÿ)*+,ÿ7'',ÿ,*1)*26ÿ.:-.1)1ÿ)'ÿ.;).2
                         +2/ÿ9+1.ÿ8+2+6.8.2)ÿ.+ ,*2.ÿ'ÿ('ÿ)*+,ÿ9'2)*2-+29.ÿ8-1)ÿ4.ÿ1-48*)). ÿ4/ÿ(*,*26ÿ+
                         8')*'2ÿ('ÿ.;)+' *2+/ÿ.,*.(ÿ+2 ÿ(*,. ÿ7*'ÿ)'ÿ)3.ÿ.;7*+)*'2ÿ'(ÿ)3.ÿ.+ ,*2.ÿ*2
                         :-.1)*'2ÿ+2/ÿ.:-.1)1ÿ('ÿ+ÿ+).09.)+*2ÿ)*+,ÿ,*1)*26ÿ8-1)ÿ4.ÿ1-48*)). ÿ*2ÿ5*)*26ÿ5*)3
                         17.9*(*9*)/4ÿ5*)3ÿ+ÿ9'7/ÿ)'ÿ'77'1*26ÿ7+)/4ÿ+2 ÿ*.9). ÿ)'ÿ)3.ÿ3'2'+4,.ÿ*..ÿ9ÿ(';4
                         9'' *2+)*26ÿ<- 6.4ÿ9*+ÿ(+91*8*,.ÿ702=0>?>0=2$@8ÿ'ÿ-1ÿ8+*,ÿ7>00ÿ9*)/ÿ3+,,4ÿ73*,+ .,73*+4ÿ7+
                         2&23@8ÿ3'5.9.4ÿ1+*ÿ.:-.1)1ÿ8+/ÿ4.ÿ8+ .ÿ'2,/ÿ-2 .ÿ.;*6.2)ÿ9*9-81)+29.1ÿ+,,
                         9'-21.,ÿ+.ÿ-2 .ÿ+ÿ9'2)*2-*26ÿ'4,*6+)*'2ÿ+2 ÿ+.ÿ3..4/ÿ' .. ÿ)'ÿ1.9.ÿ+ÿ9'7/ÿ'(
                         )3*1ÿ' .ÿ-7'2ÿ+,,ÿ-2.7.1.2). ÿ7+)*.1ÿ+2 ÿ-7'2ÿ+,,ÿ9'-21.,ÿ.2).*26ÿ+2ÿ+77.++29.
                         1-41.:-.2)ÿ)'ÿ)3.ÿ.2)/ÿ'(ÿ)3*1ÿ' .ÿ4/ÿ)3.ÿ9'-)6ÿ(';4ÿ<ÿ231012=
   ÿ
   300'9)0032=ÿ 2')*9.ÿ6*9.2ÿ-2 .ÿ-,.ÿ0$>         ÿ                                         ÿ300'9)0032=ÿ
   306$2ÿ78                                                                                     3A6A&ÿ78
   BCDEFGÿIJGKLM2')*9.ÿ6*9.2ÿ'2ÿ300'9)0032=ÿ'(ÿ5+*)*26ÿ)'ÿ,*1)ÿ7.0)*+,ÿ9'2(ÿ.2).. ÿ'2ÿ300'9)0032=
   ÿ
   300'9)0032=ÿ ,*1). ÿ('ÿ7.0)*+,ÿ9'2(           ÿ                                         ÿ300'9)0032=ÿ
   306$2ÿ78                                                                                     306$2ÿ78
   BCDEFGÿIJGKLMNONPQ
   ÿ
   300'9)0032=ÿ ,*1). ÿ*2ÿ)*+,ÿ.+ /ÿ7'',          ÿ                                         ÿ300'9)0032=ÿ
   306$0ÿ78                                                                                     306$0ÿ78
   BCDEFGÿIJGKLMNONPQ
   ÿ
   3002'90032=ÿ .2)/ÿ'(ÿ+77.++29.                  +26.,'ÿ.1:4ÿ<'32ÿ<                       ÿ3002'90032=ÿ
                                                                                                                                        Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 259 of 388




   2260$ÿ+8                                                                                     226$0ÿ+8
     BCDRSFJGTM 4ÿ.U#ÿÿ+U                                                              ÿ
   BCDEFGÿIJGKLM.2)/ÿ  '(ÿ+77.++29.ÿ'(ÿ<'32ÿ<ÿV+26.,'ÿ(*,. ÿ7(*,. ÿ'2ÿ4.3+,(ÿ'(ÿ6-+ +,-7.ÿ4+9'ÿ+2
                6+4*.,ÿ4+9'8
61111 !"#3$%                                                                     208
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   3'()*+(032,ÿ .)/01ÿ2*ÿ9*873.4)2ÿ5431                        .)613*ÿ1/74ÿ8*9)ÿ8                      ÿ3'()*+(032,ÿ
   3263-ÿ78                                                                                              3063&ÿ78
    :;<=>?@ABC .DE4ÿ)Eÿ8ÿDÿ9 D%                                                                ÿ
   :;<F?AÿH@AIJC.)/01ÿ   0429ÿ)10ÿ8.221ÿ.) ÿ9*K)2193.48ÿ2*ÿ73.4)2455L/ÿ9*873.4)2ÿ5431 ÿM5431 ÿ*)ÿN19.35
                *5ÿ6K. .3K71ÿN.+*ÿ.) ÿ6.N413ÿN.+*O
   ÿ
   2P()*+(032,ÿ 713484).Qÿ*N81924*)/                        01/)14ÿ7.249Rÿ8                         ÿ2P()*+(032,ÿ
   3$6,$ÿ78                                                                                              3'6$&ÿ78
    :;<=>?@ABC 7Dÿ7%D#ÿ*!DÿÿDDÿ)Eÿ8ÿDÿ9 D%ÿM30&-3$3-S.&'--O             ÿ
                2-(2,220T2-ÿ713484).Qÿ*N81924*)/ÿ2*ÿ151) .)2/Lÿ)10ÿ8.221ÿ.) ÿ9*K)2193.48/ÿ5431 
   :;<F?AÿH@AIJC1/7*)/1ÿ.216ÿ2013P1032,ÿM5431 ÿ*)ÿN19.35ÿ*5ÿN.Q+410ÿ3*.)ÿ/1+494)64ÿ3394ÿ.ÿ13.0.1ÿ348421
                34.N4342Qÿ9*O
   ÿ
   23(19(032,ÿ 71348ÿ*N81924*)/ÿ.//46)1                      ÿ                                         ÿ23(19(032,ÿ
   236'2ÿ.8                                                                                              236'2ÿ.8
                   (2,220T2-ÿ713484).Qÿ*N81924*)/ÿ.//46)1 ÿ2*ÿ8K 616ÿ04692ÿ7. 433.4ÿ)4).ÿÿ*)ÿ.216
   :;<F?AÿH@AIJC2-1918N1ÿ  234ÿ032,
   ÿ
   00(19(032,ÿ * 1ÿ1)211 10$Tÿ)*2491ÿ64+1) 7. 433.4ÿ)4).ÿ0                                           ÿ00(19(032,ÿ
   2063&ÿ78                                                                                              2063&ÿ78
    :;<=>?@ABC * 100                                                                                         ÿ
                2-(2,220T2-ÿ.) ÿ)*04ÿ294/ÿ2'29ÿ.Qÿ*5ÿ1918N1ÿ032,4ÿK7*)ÿ9*)/41.24*)ÿ*5ÿ291ÿ713484).Q
   :;<F?AÿH@AIJC*N81924*)/ÿ.1ÿ6.)21 ÿ.) ÿ151) .)2/Lÿ)10ÿ8.221ÿ.) ÿ9*K)2193.48/ÿ.1ÿ4/84//1 
                NQÿ291ÿ9*K26ÿ04692ÿ7. 433.4ÿ8
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 260 of 388




   ÿ
   00(19(032,ÿ )*2491ÿ64+1)ÿK) 1ÿK31ÿ0$T                    ÿ                                         ÿ0$(19(032,ÿ
   2063&ÿ78                                                                                              3P6,3ÿ.8
   :;<F?AÿH@AIJC)*2491ÿ64+1)ÿ*)ÿ0$(19(032,ÿ*5ÿ* 1ÿ1)211 10$Tÿ)*2491ÿ64+1)ÿ1)211 ÿ*)ÿ00(19(032,
61111 !"#3$%                                                                     2209
                                                                                                                                      310&
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   22'()*'032+ÿ 8-./-0ÿ1-ÿ2)88,3ÿ() 4850. 1,34ÿ-45                                          ÿ22'()*'032+ÿ
   23623ÿ,8                                                                                       2366+ÿ,8
     789:;<=>?@ 8Aÿÿ2 %%#ÿ(%Aÿ'ÿB                                                         ÿ
                8Aÿ92ÿ1%
                   '2+3H2220ÿ527-025ÿ,.5ÿ3I1231032+ÿJ1/*5 ÿ-0ÿB5K,*1ÿ-1ÿB,3L/5Mÿ*-,0ÿ25L/9/044ÿ**94ÿ,
   789C<>ÿE=>FG@205* ,M,5ÿ*/8/.5 ÿ*/,B/*/.3ÿ9-N
   ÿ
   3I',)4'032+ÿ ,02M5ÿJ8-./-0175././-0Nÿ1/*5             ,045*-ÿ52P4ÿ(-K0ÿ(                    ÿ3I',)4'032+ÿ
   236O+ÿ,8                                                                                       23663ÿ,8
     789:;<=>?@ Bÿ,Aÿÿ2(8                                                                         ÿ
                8Aÿ92ÿ1%
                20'2+3H2220ÿ,02M5ÿ/0ÿ-77-2/./-0ÿ-1ÿ8-./-0ÿ1-ÿ2)88,3ÿ() 4850.ÿ1/*5 ÿJ1/*5 ÿ-0ÿB5K,*1ÿ-1
   789C<>ÿE=>FG@4),    ,*)75ÿB,L-ÿ,0 ÿ4,B/5*ÿB,L-N
   ÿ
   20',)4'032+ÿ 8-./-0ÿ,22/405                           ÿ                                      ÿ20',)4'032+ÿ
   3&623ÿ,8                                                                                       3&623ÿ,8
                20'2+3H2220ÿ8-./-0ÿ1-ÿ2)88,3ÿ() 4850.ÿ,22/405 ÿ.-ÿ() 456ÿ1*5.8,04ÿ,BB5ÿ1ÿ-0ÿ,.56
   789C<>ÿE=>FG@,)4)2.ÿ    204ÿ032+
   ÿ
   20',)4'032+ÿ 8-./-0175././-0ÿ57*3ÿ1/*5               1,34ÿ-45                             ÿ20',)4'032+ÿ
   3$6O2ÿ78                                                                                       3O620ÿ78
     789:;<=>?@ 7ÿAÿAÿ1 ÿ2 ÿÿ2(                                                     ÿ
                8Aÿ92ÿ1%
                20'2+3H2220ÿ57*3ÿ/0ÿ2)77-.ÿ-1ÿ8-./-0ÿ1-ÿ2)88,3ÿ() 4850.ÿ1/*5 ÿJ1/*5 ÿ-0ÿB5K,*1ÿ-1
   789C<>ÿE=>FG@B, 3L/5Mÿ*-,0ÿ25L/9/044ÿ**94ÿ,ÿ5*,M,5ÿ*/8/.5 ÿ*/,B/*/.3ÿ9-N
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 261 of 388




   ÿ
   3+'257'032+ÿ 9-0155095ÿ,.5ÿ25.                       2K/ ,0'K,/24ÿ*/25..5                ÿ3+'257'032+ÿ
   3263Iÿ78                                                                                       3263Iÿ78
   789C<>ÿE=>FG@QRQST
61111 !"#3$%                                                                     2210
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01231004ÿ2602ÿ78                  Case 21-12926-mdc                Doc 46 Filed 02/10/229 Entered
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   3'()*7(032'ÿ ,-).* ÿ/0ÿ7*(.-1,ÿ902/                     ÿ                                              ÿ3'()*7(032'ÿ
   3263+ÿ78                                                                                                    3263+ÿ78
   345678ÿ:;8<=>?@?AB
   ÿ
   3+()*7(032'ÿ 20.-9*ÿC-D*2                                  ÿ                                              ÿ3+()*7(032'ÿ
   206$3ÿ18                                                                                                    206$3ÿ18
   345678ÿ:;8<=>?@?AB
   ÿ
   2&()*7(032'ÿ 0 *ÿ*2.** 10$'ÿ20.-9*ÿC-D*2 /,*.8124ÿ1FF*ÿ/                                               ÿ2&()*7(032'ÿ
   3E60Eÿ78                                                                                                    3E60Eÿ78
    345GH7;8I> 0 *$2                                                                                               ÿ
   345678ÿ:;8<=>230&1(22&'130J3222'20ÿ-.ÿ-)ÿK**FLÿ0 ** ÿ.K1.ÿ.K*ÿ80.-02ÿ-)ÿ*2-* FLÿ.K*ÿ90M.6ÿ/,*.8124ÿN
   ÿ
   2&()*7(032'ÿ 20.-9*ÿC-D*2ÿM2 *ÿM,*ÿ0$'                   ÿ                                              ÿ03()*7(032'ÿ
   3E60Eÿ78                                                                                                    236$'ÿ18
   345678ÿ:;8<=>20.-9*ÿC-D*2ÿ02ÿ03()*7(032'ÿ0/ÿ0 *ÿ*2.** 10$'ÿ20.-9*ÿC-D*2ÿ*2.** ÿ02ÿ2&()*7(032'
   ÿ
   3'(09.(032'ÿ )*..,*8*2.ÿ902/ÿ9087,*.*                      9K18F*)4ÿK0O1                                ÿ3'(09.(032'ÿ
   3$630ÿ78                                                                                                    3$630ÿ78
   345678ÿ:;8<=>?@?AB
   ÿ
   0&(20D(032'ÿ NM C8*2.ÿ*2.** ÿFLÿ1C**8*2. 90,-2)4ÿ81Lÿ                                        P2$'4+'QJ3 0&(20D(032'ÿ
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 262 of 388




   306E&ÿ78                                                                                                    306Q2ÿ78
    345GH7;8I> O)N 1$E                                                                                               ÿ
   345678ÿ:;8<=>-2ÿ*8ÿNM C8*2.ÿ-2ÿ80.C1C*ÿ/0*9,0)M*ÿ-)ÿ*2.** ÿ-2ÿ/1D0ÿ0/ÿ7,./ÿ12 ÿ1C1-2).ÿ*/.ÿ-2
                 .K*ÿ180M2.ÿ0/ÿP23Q4'2$'0ÿ.0C*.K*ÿO-.Kÿ-2.**).ÿ199M-2Cÿ1.ÿ1ÿ7*ÿ-*8ÿ0/ÿP2&+$ÿ/08
61111 !"#3$%                                                                     2211
                                                                                                                                      010&
01231004ÿ2602ÿ78                  Case 21-12926-mdc                Doc 46 Filed 02/10/229 Entered
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                         221212'ÿ()*+,ÿ*-.ÿ/*.ÿ01ÿ2-.+11ÿ2/,.4ÿ7,(2ÿ/)3ÿ0*-.ÿ1..2ÿ/) ÿ902*2ÿ,.4/,,3ÿ.905./6,.
                         63ÿ*-.ÿ90(*ÿ90,+)247ÿ2210&12'ÿ88890.9*+0)ÿ*0ÿ7( 48.)*ÿ+) .96ÿ80*+0)ÿ*0ÿ./22.22
                          /8/4.2ÿ4/)*. ÿ/8/4.2ÿ./22.22. ÿ108ÿ:23;4'2$'0ÿ*0ÿ:2$'4<';=3ÿ+) .9ÿ(7 /*. ÿ3'>3<>
                         0302
   ÿ
   0&>)05>032'ÿ )0*+9.ÿ4+5.)ÿ() .ÿ(,.ÿ0$'          ÿ                                          ÿ0&>)05>032'ÿ
   306?&ÿ78                                                                                        3?6;3ÿ78
   @ABCDEÿGHEIJK)0*+9.ÿ4+5.)ÿ0)ÿ0&>)05>032'ÿ01ÿ7( 48.)*ÿ.)*.. ÿ63ÿ/4..8.)*ÿ.)*.. ÿ0)ÿ0&>)05>032'
   ÿ
   3<>8/>032=ÿ7/.9+7.ÿ*0ÿ+22(.ÿL+*ÿ1+,.           L+,,+/824ÿ06.*ÿL                         ÿ3&>8/>032=ÿ
   3$63&ÿ78                                                                                        3?63=ÿ78
    @ABMNDHEOK Lÿÿ.PQÿ7ÿR'S                                                                ÿ
                7/.9+7.ÿ10ÿL+*ÿ01ÿ.9.9(*+0)ÿR.Sÿ1+,. ÿL+*ÿ01ÿ.9.9(*+0)ÿR.Sÿ+22(. ÿ2(67.9*ÿ7.8+2.26
   @ABCDEÿGHEIJK2200ÿ2ÿ3&*-ÿ2*ÿ7-+,/ .,7-+/ÿR1+,. ÿ0)ÿ6.-/,1ÿ01ÿ6/35+.Lÿ,0/)ÿ2.5+9+)44ÿ,,94ÿ/ÿ.,/L/.
                ,+8+*. ÿ,+/6+,+*3ÿ90S
   ÿ
   0$>8/3>032=ÿ )0*+9.ÿ>ÿ90)*+)(. ÿ2/,.ÿ/*.          1/34ÿ04.                                 ÿ0$>8/3>032=ÿ
   3&60?ÿ/8                                                                                        236;$ÿ/8
    @ABMNDHEOK )ÿÿ9QQ ÿ2ÿ2ÿR?S                                                         ÿ
   @ABCDEÿGHEIJK*-.ÿ 2-.+11T2ÿ2/,.ÿ29-. (,. ÿ10ÿ3'13'1032=ÿ-/2ÿ6..)ÿ90)*+)(. ÿ()*+,ÿ3=1221032=ÿR1+,. ÿ0)
                6.-/,1ÿ01ÿ6/35+.Lÿ,0/)ÿ2.5+9+)44ÿ,,94ÿ/ÿ.,/L/.ÿ,+8+*. ÿ,+/6+,+*3ÿ90S
   ÿ
   3<>7()>032=ÿ L+*ÿ.*()ÿ1+,.                     ÿ                                          ÿ3&>7()>032=ÿ
   306;=ÿ78                                                                                        2263<ÿ/8
   @ABCDEÿGHEIJK2/,.ÿ702*70). ÿ>ÿL+*ÿ)(86.ÿ2=3'>?=0
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 263 of 388




   ÿ
   02>7()>032=ÿ /11+/5+*ÿ01ÿ2.5+9.ÿ1+,.             1/34ÿ04.                                 ÿ00>7()>032=ÿ
   3$60?ÿ78                                                                                        2062;ÿ78
    @ABMNDHEOK .Pÿ$20&0ÿR?S                                                                        ÿ
61111 !"#3$%                                                                     2212
                                                                                                                                      $10&
01231004ÿ2602ÿ78                  Case 21-12926-mdc                Doc 46 Filed 02/10/229 Entered
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   ()*+,-ÿ/0-12345564768ÿ95ÿ:;769;ÿ95ÿ45564768ÿ7<:<4=8ÿ89ÿ7497ÿ$20'ÿ<79=ÿ><4 4?<7;ÿ@479ÿ4= ÿ>4@6;?
                @479ÿ@Aÿ7;:9=4?ÿ:;769;456:8ÿ9?4::ÿ;><?4ÿ846?ÿ9=ÿ3B1001032Cÿ56?; ÿD56?; ÿ9=ÿ@;E4?5ÿ95
                @4A76;Fÿ?94=ÿ:;7696=>4ÿ??94ÿ4ÿ;?4F4;ÿ?6868; ÿ?64@6?68Aÿ99G
   ÿ
   20HI<?H032Cÿ :E;655J:ÿ:4?;ÿD;ÿF68:G             ÿ                                            ÿ20HI<?H032Cÿ
   226$Bÿ48                                                                                            226$Bÿ48
   ()*+,-ÿ/0-123797;8Aÿ      :9? ÿ89ÿ:4I99ÿ7E6?6ÿ797;86;:ÿ??9ÿ59ÿ8E;ÿ:<8ÿ95ÿK033433333ÿ9=ÿ3C1221032CÿHÿF68
                 =<8@;ÿ2C3LH&C0
   ÿ
   3CH4<>H032Cÿ 7;86869=ÿ89ÿ6=8;7;=;                   M6M4ÿI<:86=ÿ?                               ÿ3CH4<>H032Cÿ
   3060&ÿ78                                                                                            3&632ÿ78
     ()*NO,0-P3 032C3Q3C2$2'00                                                                                 ÿ
                 8Rÿ9:ÿ5%
   ()*+,-ÿ/0-123$&H2C3Q3'$&ÿ;8;>;=9Aÿ7;86869=ÿ89ÿ6=8;7;=;ÿD56?; ÿ9=ÿ@;E4?5ÿ95ÿ:4I99ÿ7E6?6ÿ797;86;:4ÿ??9G
   ÿ
   3CH4<>H032Cÿ 89869=ÿ4::6>=;                          ÿ                                            ÿ3CH4<>H032Cÿ
   3&630ÿ78                                                                                            3&630ÿ78
   ()*+,-ÿ/0-1230$3&2H2CC3Q3'$&ÿ7;86869=ÿ89ÿ6=8;7;=;ÿ4::6>=; ÿ89ÿI< >;6ÿI< >;4ÿ;8;>;=9Aÿÿ9=ÿ48;6ÿ4<><:8ÿ3C4
   ÿ
   3QH4<>H032Cÿ <?;ÿ6::<;                              4= ;:4ÿ4=6;?ÿI                              ÿ3QH4<>H032Cÿ
   3&6&&ÿ78                                                                                            3&6B3ÿ78
     ()*NO,0-P3 ?56:&$                                                                                       ÿ
                 $&H2C3Q3'$&ÿ68ÿ6:ÿE;;@Aÿ9 ;; ÿ8E48ÿ4ÿ<?;ÿ6:ÿ6::<; ÿ<79=ÿ7?46=8655ÿ4= ÿ;5;= 4=8ÿ89ÿ:E9F
   ()*+,-ÿ/0-12394<:;ÿ     FEAÿ8E;ÿ99<8ÿ:E9<? ÿ=98ÿ>4=8ÿ8E;ÿ;?6;5ÿ;S<;:8; ÿ4ÿE;46=>ÿ:E4??ÿ@;ÿE;? ÿ9=
                 4<><:8ÿ'4ÿ032Cÿ48ÿ0633ÿ78ÿ9=ÿ99<8998ÿ0QBÿ968AÿE4??ÿ:;;ÿ9 ;ÿ59ÿ9987?;8;ÿ8;8:ÿ@A
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 264 of 388




                 8E;ÿ99<86ÿ4= ;:4ÿIÿQ1Q1032C
   ÿ
   3QH4<>H032Cÿ =9869;ÿ>67;=ÿ<= ;ÿ<?;ÿ0$L             ÿ                                            ÿ3'H4<>H032Cÿ
   3&6&&ÿ78                                                                                            3Q600ÿ48
61111 !"#3$%                                                                     2213
                                                                                                                                      &10'
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   ()*+,-ÿ/0-123456798ÿ97:84ÿ54ÿ3';<=9;032>ÿ5?ÿ=@8ÿ7AA=8 ÿ84688 ÿ54ÿ3B;<=9;032>   Page 97 of 174

   ÿ
   3';<=9;032>ÿ <??7<:76ÿ5?ÿA8:798ÿ?7@8              D7D4ÿE=A674ÿ@                              ÿ3';<=9;032>ÿ
   3'6CCÿ<8                                                                                        2262'ÿ<8
    ()*FG,0-H3 032>3B3'3B0&3'                                                                             ÿ
   ()*+,-ÿ/0-123<??7  <:76ÿ5?ÿA8:798ÿ5?ÿ78676754ÿ65ÿ7468:848ÿ<4 ÿ=@8ÿ=754ÿ598ÿ?<Iÿ<4 ÿE5J4ÿEÿ<498@5
                KIÿ54ÿ3B13B1032>ÿ?7@8 ÿL?7@8 ÿ54ÿK8J<@?ÿ5?ÿA<E95ÿ7J7@7ÿ7578678A4ÿ@@9M
   ÿ
   3';<=9;032>ÿ 5 8ÿ84688 10$Nÿ456798ÿ97:84 8889849IÿE= 984ÿE= 98                             ÿ3';<=9;032>ÿ
   3C632ÿ78                                                                                        3C632ÿ78
    ()*FG,0-H3 5 8CN                                                                                   ÿ
                $C;2>3B3'$Cÿ<4 ÿ45O4ÿ6J7Aÿ'6Jÿ<Iÿ5?ÿ<=9=A64ÿ032>4ÿ=754ÿ954A78<6754ÿ5?ÿ6J8ÿ8889849I
                78676754ÿ65ÿ7468:848ÿ<4 ÿA6<Iÿ7<I8846ÿ65ÿAJ87??ÿ5?ÿ6J8ÿ75786IÿD45O4ÿ<Aÿ2200ÿA5=6J
                '6JÿA68864ÿ7J7@< 8@7J7<4ÿ7<ÿA5@ ÿ54ÿE=@Iÿ226J4ÿ032>4ÿ=4 8ÿK55Dÿ2>3N4ÿO76ÿC>04ÿ<4 ÿ<4I
                8A754A8ÿ6J88654ÿ76ÿ7AÿJ88KIÿ5 88 4ÿ< E= 98 4ÿ<4 ÿ8988 ÿ<Aÿ?5@@5OA6ÿ2ÿ6J8ÿ78676754
   ()*+,-ÿ/0-12365ÿ7468:848ÿ7AÿJ88KIÿ9<468 ÿ<4 ÿA<E95ÿ7J7@7ÿ7578678Aÿ@@9ÿAJ<@@ÿK8ÿ59D868 ÿ<Aÿ<
                7<6Iÿ65ÿ6J7Aÿ<96754ÿ?5ÿ6J8ÿ@78768 ÿ7=75A8ÿ5?ÿ?7@749ÿ<4 ÿ< E= 79<6749ÿ<ÿ856754ÿ65ÿA86
                <A78ÿAJ87??PAÿA<@8@ÿ<4 ÿ0ÿ6J8ÿJ87??ÿ5?ÿ7J7@7< 8@7J7<ÿ95=46Iÿ7AÿJ88KIÿ78968 ÿ65ÿA6<I
                7<I8846ÿKIÿA<E95ÿ7J7@7ÿ7578678Aÿ@@9ÿ=467@ÿ6J76IÿL$3Mÿ<IAÿ<?68ÿ?74<@ÿ5 8ÿ5?ÿ6J8ÿ95=6
                < E= 79<6749ÿ6J8ÿ856754ÿ65ÿA86ÿ<A78ÿKIÿ6J8ÿ95=66ÿ<4 8A4ÿE4ÿB1'12>
   ÿ
   3';<=9;032>ÿ 456798ÿ97:84ÿ=4 8ÿ=@8ÿ0$N           ÿ                                           ÿ23;<=9;032>ÿ
   3C632ÿ78                                                                                        3'6C3ÿ<8
   ()*+,-ÿ/0-123456798ÿ97:84ÿ54ÿ23;<=9;032>ÿ5?ÿ5 8ÿ84688 10$Nÿ456798ÿ97:84ÿ84688 ÿ54ÿ3';<=9;032>
   ÿ
   2&;<=9;032>ÿ 856754ÿA86ÿ<A78ÿAJ87??ÿA<@8 D7D4ÿE=A674ÿ@                                       ÿ2N;<=9;032>ÿ
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 265 of 388




   3$6C'ÿ78                                                                                        236$2ÿ<8
    ()*FG,0-H3 032>3B2&2CC000                                                                             ÿ
                8Qÿ9Aÿ?%
   ()*+,-ÿ/0-123'2;2>3B2B'2ÿ8A754A8ÿ<68ÿ3'13&1032>ÿL?7@8 ÿ54ÿK8J<@?ÿ5?ÿA<E95ÿ7J7@7ÿ7578678Aÿ@@9M
61111 !"#3$%                                                                     2214
                                                                                                                                      &10'
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   2()*+,)032(ÿ /+ ,8012ÿ8*30 ÿ24ÿ250ÿ+60ÿ47 7*84ÿ4,0                                           ÿ2()*+,)032(ÿ
   236-.ÿ*8                                                                                         22620ÿ*8
     9:;<=>?@AB 7ÿÿ8ÿ/%C)DÿE3$F2F(&-D*'-((G                                               ÿ
   9:;H>@ÿJ?@KLB7*09M    70ÿ24ÿ8*3ÿ/+ ,8012ÿ24ÿ250ÿ+60ÿ47ÿ0)Nÿ9*65M1,4ÿOO9ÿ7MO0 ÿE7MO0 ÿ41ÿP05*O7ÿ47ÿP*8QM0R
                O4*1ÿ60QM9M1,4ÿOO94ÿ*ÿ0O*R*0ÿOM8M20 ÿOM*PMOM28ÿ94G
   ÿ
   02)*+,)032(ÿ 62M7+O*2M41ÿ7MO0                               7*84ÿ4,0                          ÿ02)*+,)032(ÿ
   2260-ÿ*8                                                                                         326$Fÿ78
     9:;<=>?@AB 9CCÿ4ÿ)ÿ6ÿ6                                                                 ÿ
                        3.0F'$ÿ62M7+O*2M41ÿ24ÿQ*9*20ÿ650M77ÿ6*O0ÿ*1 ÿ0OM62ÿ747028ÿ74ÿ6*O0ÿ7MO0 ÿ*R*M2M1,
   9:;H>@ÿJ?@KLB'/+$)2M(9M
                         *Oÿ*774Q*OÿE7MO0 ÿ41ÿP05*O7ÿ47ÿ0)Nÿ9*65M1,4ÿOO9G
   ÿ
   02)*+,)032(ÿ 62M7+O*2M41ÿ*66M,10                            ÿ                                   ÿ02)*+,)032(ÿ
   326-3ÿ78                                                                                         326-3ÿ78
   9:;H>@ÿJ?@KLB'$)2(3.0F'$ÿ62M7+O*2M41ÿ7MO0 ÿ*66M,10 ÿ24ÿ/+ ,06ÿ7O028*14ÿ*PP0ÿ7ÿ41ÿ*206ÿ*+,+62ÿ024ÿ032(
   ÿ
   02)*+,)032(ÿ RM2ÿ02+1ÿ7MO0                               ÿ                                   ÿ02)*+,)032(ÿ
   306F0ÿ78                                                                                         306F0ÿ78
   9:;H>@ÿJ?@KLB2086ÿ47ÿ6*O0ÿ142ÿ9487OM0 ÿRM25ÿ)ÿRM2ÿ1+8P0ÿ2(3&)-(0
   ÿ
   02)*+,)032(ÿ 7*09M70ÿ24ÿM66+0ÿRM2ÿ7MO0                    7*84ÿ4,0                          ÿ02)*+,)032(ÿ
   3$62$ÿ78                                                                                         3$6$3ÿ78
     9:;<=>?@AB Rÿÿ0DCÿ7                                                                     ÿ
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   9:;H>@ÿJ?@KLB7*09M    70ÿ74ÿRM2ÿ47ÿ0S09+2M41ÿE0Gÿ7MO0 ÿRM2ÿ47ÿ0S09+2M41ÿE0GÿM66+0 ÿ6+P/092ÿ708M6066
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   9:;F>@ÿH?@IJB5*ÿ2013,1032,ÿ./ÿ26$378ÿ0)ÿ9*2/**8ÿ80Oÿ90/6ÿK.44ÿ311ÿ* 1ÿ5*ÿ9*8741/1ÿ/183ÿM6ÿ/K1
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   3$6$8ÿ78                                                                                       3$6$8ÿ78
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   9:;F>@ÿH?@IJB5*ÿ2013,1032,ÿ./ÿ26$378ÿ0)ÿ9*2/**8ÿ80Oÿ90/6ÿK.44ÿ311ÿ* 1ÿ5*ÿ9*8741/1ÿ/183ÿM6ÿ/K1
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                  3:2<3$3443ÿ7FC=D>=EEQ?ÿ282J2D9Bÿ81>:71?>71D2ÿ?@2=EEÿ?CF2ÿOE=F2 ÿ1DÿA2@CFEÿ1Eÿ2:R
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   '()=,.ÿ?-.@A003724Bÿ20C3323C$&32ÿ8DEB7D1E7DFGÿ1HGI<<ÿ16JGÿ611IMFG ÿEDÿNO MG6ÿNO MG4ÿG8GMGF9PÿÿDFÿ6EG6ÿ67IJ
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                 FGQÿFDEI9G4ÿIEÿI1ÿHGGKPÿD GG ÿ6F ÿG9GG ÿEH6Eÿ7J6IFEI<<R1ÿ17G9I6Jÿ8DEIDFÿ<Dÿ9DFEIF
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                 K0I(34ÿ-4ÿ0'Mÿ9(2I/,54ÿ339C
   ÿ
   3&'N13'032*ÿ 8-.'7-2.7-,0ÿ2I0/44ÿ2(30                 4()4ÿ-50                                 ÿ3&'N13'032*ÿ
   226O+ÿ(8                                                                                             226+*ÿ(8
     789:;<=>?@ 0Pÿ877ÿB3O22*&L$P(&OLLC                                                                  ÿ
                 8Aÿ92ÿ4%
   789D<>ÿF=>GH@2$'2*3L3*2$ÿ8-.'7-2.7-,0ÿ2I0/44ÿ2(30ÿB4/30 ÿ-,ÿK0I(34ÿ-4ÿ0'Mÿ9(2I/,54ÿ339C
   ÿ
   3&'N13'032*ÿ 8-./-,ÿ(22/5,0                            ÿ                                          ÿ3&'N13'032*ÿ
   226+&ÿ(8                                                                                             226+&ÿ(8
   789D<>ÿF=>GH@32&$4'ÿ20*332L*3*2$ÿ8-.'7-2.7-,0ÿ2I0/44ÿ2(30ÿ(22/5,0 ÿ.-ÿN1 506ÿN1 504ÿ08050,9)ÿÿ-,ÿ(.06ÿN13)
   ÿ
   3&'N13'032*ÿ - 0ÿ0,.00 10$6ÿ,-./90ÿ5/Q0, (, 024ÿ(,/03ÿN                                       ÿ3&'N13'032*ÿ
   3$6+3ÿ78                                                                                             3$6+3ÿ78
     789:;<=>?@ - 0*0                                                                                      ÿ
                 2$'2*3L3*2$ÿ/.ÿ/2ÿI00K)ÿ- 00 ÿ(, ÿ0900 ÿ.I(.ÿ73(/,./44J2ÿ2709/(3ÿ8-./-,ÿ4-
                 9-,./,1(,90ÿ-4ÿ2I0/44J2ÿ2(30ÿR/.I-1.ÿ,0Rÿ,-./90ÿ/2ÿ5(,.0 4ÿ(, ÿ2(/ÿ2I0/44J2ÿ2(30ÿ-4
   789D<>ÿF=>GH@0(3ÿ7-70.)ÿ9-88-,3)ÿS,-R,ÿ(2ÿ2200ÿ2ÿ&.Iÿ2.4ÿ7I/3( 037I/(4ÿ7(ÿ2&2OLÿ/2ÿ029I0 130 ÿ4-
                 207.08K0ÿ224ÿ032*ÿ,-ÿ41.I0ÿ,-./90ÿ.-ÿ.I0ÿ040, (,.2ÿ(, ÿ3/0,ÿI-3 02ÿ(, ÿ,-ÿ41.I0
                 ( Q0./2/,5ÿ(0ÿ0T1/0 ÿÿK)ÿ.I0ÿ9-1.6ÿ(, 024ÿNÿ3L13&12*
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 272 of 388




   ÿ
   3&'N13'032*ÿ ,-./90ÿ5/Q0,ÿ1, 0ÿ130ÿ0$6               ÿ                                          ÿ23'N13'032*ÿ
   3$6+3ÿ78                                                                                             3*6$&ÿ(8
   789D<>ÿF=>GH@,-./90ÿ5/Q0,ÿ-,ÿ23'N13'032*ÿ-4ÿ- 0ÿ0,.00 10$6ÿ,-./90ÿ5/Q0,ÿ0,.00 ÿ-,ÿ3&'N13'032*
   ÿ
61111 !"#3$%                                                                     0221
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01231004ÿ2602ÿ78                  Case 21-12926-mdc                Doc 46 Filed 02/10/229 Entered
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                                                                        Document     Page 105 of 174
   22'()*'032+ÿ -./ÿ0/)1ÿ2.*0                           ÿ                                     ÿ22'()*'032+ÿ
   22632ÿ,8                                                                                         22632ÿ,8
   345678ÿ:;8<=>?,*0ÿ7@?/7@10 ÿ'ÿ-./ÿ1)8A0ÿ2B22'C&+
   ÿ
   03'()*'032+ÿ 1@/.90ÿ'ÿ9@1/.1)0 ÿ?,*0ÿ,/0                2,D4ÿ@E0                            ÿ03'()*'032+ÿ
   30623ÿ78                                                                                         30620ÿ78
     345FG7;8H> 1ÿÿ9II ÿ?ÿ?ÿJ$K                                                         ÿ
   345678ÿ:;8<=>/L0ÿ  ?L0.22M?ÿ?,*0ÿ?9L0 )*0 ÿ2@ÿ3B1231032+ÿL,?ÿA001ÿ9@1/.1)0 ÿ)1/.*ÿ3&1221032+ÿJ2.*0 ÿ@1
                A0L,*2ÿ@2ÿ0'Nÿ9,?L.1E4ÿ**9K
   ÿ
   20'?07'032+ÿ -./ÿ0/)1ÿ2.*0                           ÿ                                     ÿ20'?07'032+ÿ
   3&600ÿ,8                                                                                         3&600ÿ,8
   345678ÿ:;8<=>?/,D0 ÿADÿ7*,.1/.22M?ÿ,//@10Dÿ'ÿ-./ÿ1)8A0ÿ2B22'C&+
   ÿ
   20'?07'032&ÿ 8.?90**,10@)?ÿ8@/.@1170/./.@1 2,D4ÿ@E0                                         ÿ20'?07'032&ÿ
   226$Bÿ,8                                                                                         226$Bÿ,8
     345FG7;8H> 7Iÿÿ- Oÿÿ9 Iÿÿ                                                    ÿ
                8Iÿ9?ÿ2%
                P2'2&3&2QP2ÿ0?7@1?0ÿ,/0ÿ231301032&ÿ70/./.@1ÿ/@ÿ-./L ,-ÿ,?ÿ9@)1?0*ÿ@2ÿ09@ ÿJ2.*0 ÿ@1
   345678ÿ:;8<=>A0L,*   2ÿ@2ÿ0'Nÿ9,?L.1E4ÿ**9K
   ÿ
   3P'@9/'032&ÿ 8@/.@1ÿ,??.E10                             ÿ                                     ÿ3P'@9/'032&ÿ
   3&6$Pÿ,8                                                                                         3&6$Pÿ,8
                    2&3&2QP2ÿ8.?90**,10@)?ÿ8@/.@1170/./.@1ÿ,??.E10 ÿ/@ÿ() E06ÿ?L. ,1'L,.?4ÿ*.?0//0ÿÿ@1
   345678ÿ:;8<=>P2,'/06ÿ@9/@A0ÿ3P4ÿ032&
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 273 of 388




   ÿ
   0+'@9/'032&ÿ @ 0ÿ01/00 10$Qÿ1@/.90ÿE.R01 ?L. ,1'L,.?4ÿ*.?0//0                           ÿ0+'@9/'032&ÿ
   226$2ÿ,8                                                                                         226$&ÿ,8
     345FG7;8H> @ 0+&                                                                                  ÿ
61111 !"#3$%                                                                     0222
                                                                                                                                      $10&
01231004ÿ2602ÿ78                  Case 21-12926-mdc                Doc 46 Filed 02/10/229 Entered
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                                                                        Document     Page 106 of 174
                &242'3'25&2ÿ67 ÿ7894ÿ:;<=ÿ0>:;ÿ6?ÿ8@ÿ89:8AB4ÿ032'4ÿ6ÿCDBÿ<=ÿB7:BB ÿ6E6<7=:ÿ6DDÿ76:<B=ÿ8@
                <7:BB=:ÿ:8ÿ=;89ÿ96C=Bÿ9;?ÿ8<D=:B6 ÿ67 ÿ6==89<6:B=4ÿDD94ÿ67 ÿ8EBÿ@6?4ÿB=F4ÿ=;8CD ÿ78:
                9<:; 69ÿ6=ÿ98C7=BDÿ8@ÿB98 ÿ@8ÿ7D6<7:<@@4ÿB4Gÿ96=;<7E4ÿDD9ÿ4ÿ<7ÿ:;Bÿ6A8HB4967:<87B
   ()*+,-ÿ/0-12386::BÿCDBÿB:C76ADBÿ:;Bÿ05:;ÿ6?ÿ8@ÿ78HB8AB4ÿ032'ÿ6:ÿ'6$3ÿ68ÿ<7ÿ98C:888ÿ0>$4ÿ9<:?
                ;6DDÿ<:ÿ<=ÿ@C:;Bÿ8 BB ÿ:;6:ÿ88H67:ÿ=;6DDÿ78:<@?ÿ6DDÿ76:<B=ÿ8@ÿ<7:BB=:ÿ8@ÿ:;BÿCDB
                ;B6<7Eÿ67 ÿ=;6DDÿ78:<@?ÿ:;Bÿ9D<B7:ÿ8@ÿ:;Bÿ88:<87ÿ67 ÿCDBÿ;B6<7EÿA?ÿ9B:<@<B ÿ67
                BECD6ÿ86<DÿA?ÿ:;Bÿ98C:6ÿ=;< 674;6<=4ÿI
   ÿ
   0J489:4032'ÿ 78:<9BÿE<HB7ÿC7 BÿCDBÿ0$5             ÿ                                          ÿ0J489:4032'ÿ
   226$2ÿ68                                                                                          3&625ÿ78
   ()*+,-ÿ/0-12378:<9BÿE<HB7ÿ87ÿ0J489:4032'ÿ8@ÿ8 BÿB7:BB 10$5ÿ78:<9BÿE<HB7ÿB7:BB ÿ87ÿ0J489:4032'
   ÿ
   0J489:4032'ÿ CDBÿB:C76ADBÿ=9;B CDB                ÿ                                          ÿ0J489:4032'ÿ
   226&2ÿ68                                                                                          226&2ÿ68
   ()*+,-ÿ/0-123&242'3'25&2ÿCDBÿ;B6<7Eÿ78HB8ABÿ054ÿ032'ÿ6:ÿ'6$3ÿ<7ÿ98C:888ÿ0>$4ÿ9<:?ÿ;6DD4ÿ7;<D64ÿ76
   ÿ
   22478H4032'ÿ 6@@<6H<:ÿ8@ÿ=BH<9Bÿ@<DB                @6?4ÿ8EB                                 ÿ20478H4032'ÿ
   306$&ÿ78                                                                                          236&&ÿ68
     ()*KL,0-M3 6ÿÿ=ÿÿÿ4ÿA                                                                 ÿ
   ()*+,-ÿ/0-1236@@<     6H<:ÿ8@ÿ=BH<9Bÿ8@ÿCDBÿ:8ÿ@<DBÿC787ÿE6A<BDÿA6H8ÿ67 ÿB4Gÿ96=;<7E4ÿDD9ÿA?ÿ9B:<@<B
                86<D4@<=:ÿ9D6==ÿBECD6ÿ86<Dÿ87ÿ221221032'ÿ@<DB ÿN@<DB ÿ87ÿAB;6D@ÿ8@ÿB4Gÿ96=;<7E4ÿDD9O
   ÿ
   0P478H4032'ÿ 8 BÿB7:BB 10$5ÿ78:<9BÿE<HB7 =;< 674;6<=4ÿD<=B::B                             ÿ0P478H4032'ÿ
   2063>ÿ78                                                                                          2063>ÿ78
     ()*KL,0-M3 8 B'$                                                                                   ÿ
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 274 of 388




   ()*+,-ÿ/0-123&242'3'25&2ÿ<:ÿ<=ÿ;BBA?ÿ8 BB ÿ67 ÿB9BB ÿ:;6:ÿ:;Bÿ7B:<:<87ÿ8@ÿ98C7=BDÿ@8ÿDB6HBÿ:8
                9<:; 69ÿ6=ÿ98C7=BDÿ<=ÿE67:B ÿ98C7=BDÿ<=ÿE67:B ÿDB6HBÿ:8ÿ9<:; 69ÿ@88
                B7B=B7:<7Eÿ7D6<7:<@@4ÿB4Gÿ96=;<7E4ÿDD9ÿ9<:;<7ÿ:B7ÿN23Oÿ6?=ÿ8@ÿ:;BÿB7:?ÿ8@ÿ:;<=ÿ8 B
                98C7=BDÿ=;6DDÿ@<DBÿ6ÿ76B9<7Bÿ:8ÿ9<:; 69ÿ6=ÿ98C7=BDÿ9<:;ÿ:;Bÿ8@@<9Bÿ8@ÿIC <9<6DÿB98 =4
                6::69;<7Eÿ67ÿ6@@<6H<:ÿ8@ÿ=BH<9Bÿ9B:<@?<7Eÿ:;6:ÿ:;<=ÿ8 Bÿ;6=ÿABB7ÿ=B7:ÿ:8ÿ:;Bÿ9D<B7:
                67 ÿ6D=8ÿC7 6:<7Eÿ:;Bÿ8@@<9Bÿ8@ÿIC <9<6DÿB98 =ÿ9<:;ÿ:;Bÿ6 B==ÿC787ÿ9;<9;ÿ6DD
61111 !"#3$%                                                                     0223
                                                                                                                                      &10'
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                         ()*+,ÿ-.*/9,0ÿ(.8ÿ*+,ÿ9.)*ÿ0+122ÿ3,ÿ0,-*ÿ*.ÿ*+,ÿ92/,-*ÿ122ÿ,1 2/-,0ÿ,81/-ÿ/-
                         ,((,9*ÿ34ÿ*+,ÿ9.)*6ÿ0+/ 1-5+1/04ÿ6ÿ2210712'
   ÿ
   085-.95032'ÿ -.*/9,ÿ:/9,-ÿ)- ,ÿ)2,ÿ0$7           ÿ                                         ÿ3$5,95032'ÿ
   2063&ÿ78                                                                                      3'600ÿ18
   ;<=>?@ÿBC@DEF-.*/9,ÿ:/9,-ÿ.-ÿ3$5,95032'ÿ.(ÿ. ,ÿ,-*,, 10$7ÿ-.*/9,ÿ:/9,-ÿ,-*,, ÿ.-ÿ085-.95032'
   ÿ
   3G5,95032'ÿ ,-*4ÿ.(ÿ177,11-9,                    H/H4ÿ6)0*/-ÿ2                            ÿ3G5,95032'ÿ
   236&$ÿ18                                                                                      236&Iÿ18
    ;<=JK?C@LF ,M#ÿÿ1Mÿ5ÿ,Nÿ9M                                                           ÿ
   ;<=>?@ÿBC@DEF,-*4ÿ.(ÿ177,11-9,ÿ.(ÿ6)0*/-ÿ2ÿH/Hÿ(/2, ÿO(/2, ÿ.-ÿ3,+12(ÿ.(ÿ,5Nÿ910+/-:4ÿ229P
   ÿ
   3G5,95032'ÿ 1((/19/*ÿ.(ÿ0,9/9,ÿ(/2,               (144ÿ.:,                                ÿ3G5,95032'ÿ
   20637ÿ78                                                                                      2063'ÿ78
    ;<=JK?C@LF 1ÿÿ0ÿ5ÿ3                                                                      ÿ
                1((/19/*ÿ.(ÿ0,9/9,ÿ.(ÿ. ,ÿ)7.-ÿ0169.ÿ7+/2/ÿ7.7,*/,0ÿ2294ÿ6)0*/-ÿ2ÿH/H4ÿ:)1 12)7,
   ;<=>?@ÿBC@DEF319.4ÿ:13/,2ÿ319.ÿ1- ÿ,5Nÿ910+/-:4ÿ229ÿ34ÿ9,*/(/, ÿ81/24(/0*ÿ92100ÿ,:)21ÿ81/2ÿ.-
                2013G1032'ÿ(/2, ÿO(/2, ÿ.-ÿ3,+12(ÿ.(ÿ,5Nÿ910+/-:4ÿ229P
   ÿ
   375,95032'ÿ Q/*+ 1Q12ÿ.(ÿ177,11-9,               (144ÿ.:,                                ÿ375,95032'ÿ
   23633ÿ18                                                                                      2363$ÿ18
    ;<=JK?C@LF Q RÿÿMÿ5ÿ3                                                            ÿ
   ;<=>?@ÿBC@DEFQ/*+ 1Q12ÿ.(ÿ177,11-9,ÿ.(ÿ.:,ÿ(14ÿ(/2, ÿO(/2, ÿ.-ÿ3,+12(ÿ.(ÿ,5Nÿ910+/-:4ÿ229P
   ÿ
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 275 of 388




   2G561-50302ÿ 31-H)7*94ÿ/08/001218. /(            H/H4ÿ6)0*/-ÿ2                            ÿ2&561-50302ÿ
   3I6G$ÿ78                                                                                      236$0ÿ18
    ;<=JK?C@LF 0 Mÿÿ*%MMÿÿ3H4                                                             ÿ
   ;<=>?@ÿBC@DEF-.*/9,ÿ.(ÿ31-H)7*94ÿ/08/0012ÿ(/2, ÿO(/2, ÿ.-ÿ3,+12(ÿ.(ÿ,5Nÿ910+/-:4ÿ229P
61111 !"#3$%                                                                     0224
                                                                                                                                      &10'
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   ÿ
   0$()*+(0302ÿ 8-./-0ÿ.-ÿ*122*22ÿ1813*2 4/44ÿ562./0ÿ7                                            ÿ0$()*+(0302ÿ
   3$6,&ÿ78                                                                                          38628ÿ78
     9:;<=>?@AB 8Cÿÿÿ%ÿ(ÿCÿ#                                                          ÿ
                 8Cÿ92ÿ)%
   9:;D>@ÿF?@GHBII(02300$IIÿ*27-02*ÿ1.*ÿ3$12,10302ÿJ)/7* ÿ-0ÿ+*K17)ÿ-)ÿ*(Lÿ912K/034ÿ779M
   ÿ
   22(81(0302ÿ 102N*ÿJ8-./-017*././-0Mÿ)/7* 29K-774ÿ1O/ÿ1                                         ÿ22(81(0302ÿ
   22628ÿ18                                                                                          2262,ÿ18
     9:;<=>?@AB 03023$2023,03,                                                                               ÿ
                 8Cÿ92ÿ)%
                 II(02300$IIÿ102N*ÿ/0ÿ-77-2/./-0ÿ-)ÿ8-./-0ÿ.-ÿ*122*22ÿ1813*2ÿ)/7* ÿJ)/7* ÿ-0ÿ+*K17)ÿ-)
   9:;D>@ÿF?@GHB361         1767*ÿ+1O-ÿ10 ÿ31+/*7ÿ+1O-M
   ÿ
   2P(81(0302ÿ8-./-0ÿ122/30*                               ÿ                                       ÿ2P(81(0302ÿ
   23688ÿ18                                                                                          23688ÿ18
   9:;D>@ÿF?@GHBI2IP(4ÿ002330020$IIÿ8-./-0ÿ.-ÿ*122*22ÿ1813*2ÿ122/30* ÿ.-ÿ56 3*6ÿ71./944ÿ71671ÿÿ-0ÿ1.*6ÿ819K
   ÿ
   30(560(0302ÿ - *ÿ*0.** 10$&ÿ0-./9*ÿ3/O*0 71./944ÿ71671                                       ÿ30(560(0302ÿ
   3$603ÿ78                                                                                          3$603ÿ78
     9:;<=>?@AB - *230                                                                                    ÿ
                 II(02300$IIÿ67-0ÿ9-02/*1./-0ÿ-)ÿ771/0./))Q2ÿ8-./-0ÿ.-ÿ*122*22ÿ1813*2ÿ)/7* ÿ60 *
   9:;D>@ÿF?@GHB9-0.-7          ÿ068+*ÿ02300$II4ÿ10 ÿ.K*ÿ*27-02*4ÿ/.ÿ/2ÿK**+Rÿ- ** ÿ10 ÿ*9** ÿ.K1.ÿ.K*
                 8-./-0ÿ/2ÿ310.* ÿ10 ÿ771/0./))Q2ÿ0-O*8+*ÿ0'4ÿ032&4ÿ/0ÿ*8ÿ56 3*8*0.ÿ+Rÿ13**8*0.ÿ/2
                                                                                                                                         Case 2:22-cv-04820-KBH Document 2-1 Filed 01/03/23 Page 276 of 388




                 *122*22* ÿ1.ÿS2$&4I&,P3ÿ+Rÿ.K*ÿ9-6.6ÿ71./944ÿ5ÿ3&13010302
   ÿ
   30(560(0302ÿ 0-./9*ÿ3/O*0ÿ60 *ÿ67*ÿ0$&                 ÿ                                       ÿ30(560(0302ÿ
   3$603ÿ78                                                                                          3$683ÿ78
61111 !"#3$%                                                                     0225
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   ()*+,-ÿ/0-123456798ÿ97:84ÿ54ÿ30;<=4;0302ÿ5>ÿ5 8ÿ84688 10$?ÿ456798ÿ97:84ÿ84688 ÿ54ÿ30;<=4;0302
   ÿ
   3@;<=4;0302ÿ 95896754ÿ65ÿ<= 98846ÿ74 8B ÿ                                                    ÿ3@;<=4;0302ÿ
   3060Aÿ78                                                                                        20633ÿC8
                  DD95896754ÿ65ÿ<= 98846ÿ74 8B6ÿ856754ÿ65ÿ8CEE8EEÿC8C98Eÿ9C468 ÿC8C98E
   ()*+,-ÿ/0-123D8CEE8EE8      ÿ>58ÿF23A4?2$?0ÿ65ÿF2$?G4@?A&3ÿ74 8Bÿ=7 C68 ÿ3?;3@;0302
   ÿ
   2$;C=9;0302ÿ 7C89778ÿ65ÿ7EE=8ÿI76ÿ>7J8                K7K4ÿ<=E674ÿJ                         ÿ2?;C=9;0302ÿ
   3H6HAÿ78                                                                                        3'6$3ÿC8
     ()*LM,0-N3 Iÿÿ8OPÿ;ÿPÿ#ÿ;ÿ8Qÿ9P                                                      ÿ
   ()*+,-ÿ/0-1237C897   78ÿ>5ÿI76ÿ5>ÿ8B89=6754ÿR8Sÿ>7J8 ÿI76ÿ5>ÿ8B89=6754ÿR8Sÿ7EE=8 ÿE=T<896ÿ7887E8E6
                2200ÿEÿ3'6UÿE6886ÿ7U7JC 8J7U7CÿR>7J8 ÿ54ÿT8UCJ>ÿ5>ÿ8;Qÿ9CEU749ÿJJ9S
   ÿ
   2?;C=9;0302ÿ 7C89778ÿ65ÿ7EE=8ÿI76ÿ>7J8                K7K4ÿ<=E674ÿJ                         ÿ2?;C=9;0302ÿ
   2263&ÿC8                                                                                        2263@ÿC8
     ()*LM,0-N3 Iÿÿ8Oÿ7ÿ;ÿPÿ#ÿ@2?                                                           ÿ
   ()*+,-ÿ/0-1237C897   78ÿ>5ÿI76ÿ5>ÿ8B89=6754ÿR8Sÿ>7J8 ÿI76ÿ5>ÿ8B89=6754ÿR8Sÿ7EE=8 ÿE=T<896ÿ7887E8E6
                2200ÿEÿ3'6UÿE6886ÿ7U7JC 8J7U7CÿR>7J8 ÿ54ÿT8UCJ>ÿ5>ÿ8;Qÿ9CEU749ÿJJ9S
   ÿ
   0';E87;0302ÿ C>>7C:76ÿ5>ÿE8:798ÿ>7J8                   ÿ                                      ÿ0';E87;0302ÿ
   236$&ÿC8                                                                                        236HHÿC8
     ()*LM,0-N3 2@03&?32C>>7C:76>T8993@>;HTTH;H>H ;T 2?;HT2C8TH' 0T'                                    ÿ
   ()*+,-ÿ/0-123C>>7   C:76ÿ5>ÿE8:798ÿ5>ÿ456798ÿ5>ÿEU87>>ÿECJ8ÿ=754ÿ9CT78JÿTC:5ÿTVÿ78E54CJÿE8:798ÿ54
                3'10A10302ÿ>7J8 
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   ÿ
   0';E87;0302ÿ C>>7C:76ÿ5>ÿE8:798ÿ>7J8                   ÿ                                      ÿ0';E87;0302ÿ
   236$'ÿC8                                                                                        236AHÿC8
     ()*LM,0-N3 2@03&?30C>>7C:76$88 >89C;'&83;32H0;'3@@;9H 230'AT'@A                                    ÿ
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   ()*+,-ÿ/0-12345564768ÿ95ÿ:;769;ÿ95ÿ<9869;ÿ95ÿ:=;655ÿ:4>;ÿ?79<ÿ@?4 4>?7;ÿA479ÿABÿ7;:9<4>ÿ:;769;
                9<ÿ3'10C10302ÿ56>; 
   ÿ
   0'D:;7D0302ÿ 45564768ÿ95ÿ:;769;ÿ56>;                   ÿ                                  ÿ0'D:;7D0302ÿ
   236C3ÿ48                                                                                     22630ÿ48
    ()*EF,0-G3 2&03HI3$45564768I4990$IHDAJ;D;3J&D40C4DH094;I$9$H&5                                    ÿ
   ()*+,-ÿ/0-1234556  4768ÿ95ÿ:;769;ÿ95ÿ<9869;ÿ95ÿ:=;655ÿ:4>;ÿ?79<ÿ@4A6;>ÿA479ÿABÿ7;:9<4>ÿ:;769;ÿ9<
                3'10C10302ÿ56>; 
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   0'D:;7D0302ÿ 45564768ÿ95ÿ:;769;ÿ56>;                   ÿ                                  ÿ0'D:;7D0302ÿ
   236C0ÿ48                                                                                     2263Hÿ48
    ()*EF,0-G3 2&03HI3J45564768'3;33C09D2I$9D2JJ3D'3C4D0H3;J'4$$J;5                                   ÿ
   ()*+,-ÿ/0-1234556  4768ÿ95ÿ:;769;ÿ95ÿ<9869;ÿ95ÿ:=;655ÿ:4>;ÿ?79<ÿ@?4 4>?7;ÿA479ÿABÿ7;:9<4>ÿ:;769;
                9<ÿ3'10C10302ÿ56>; 
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   0ID998D0302ÿ 45564768ÿ95ÿ:;769;ÿ56>;                   K6K4ÿL?:86<ÿ>                     ÿ0ID998D0302ÿ
   3$6J'ÿ78                                                                                     3$6J'ÿ78
    ()*EF,0-G3 $20'0ÿ9ÿÿ:ÿDÿA                                                               ÿ
                45564768ÿ95ÿ:;769;ÿ95ÿ45564768ÿ7?:?4<8ÿ89ÿ7497ÿ$20'ÿ?79<ÿ@?4 4>?7;ÿA479ÿ4< ÿ@4A6;>
   ()*+,-ÿ/0-123A479ÿABÿ7;:9<4>ÿ:;769;49;8656; ÿ846>456:8ÿ9>4::ÿ;@?>4ÿ846>ÿ9<ÿ3'10&10302ÿ56>; ÿM56>;
                9<ÿA;=4>5ÿ95ÿ;DNÿ94:=6<@ÿ>>9O
   ÿ
   0'D998D0302ÿ ;5;; ÿDÿA4<K?789B                       :9=9>>4ÿ476ÿ4                      ÿ32D<97D0302ÿ
   3J63Hÿ78                                                                                     3'6$2ÿ48
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    ()*EF,0-G3 030223$32C23J$                                                                            ÿ
   ()*+,-ÿ/0-12374;96  7;ÿ89ÿ;5;ÿ94:;ÿ?;ÿ89ÿ7;< 6<@ÿA4<K?789Bÿ49869<ÿ?< ;ÿ94:;ÿ<?8A;6ÿ<9<;ÿM56>;
                9<ÿA;=4>5ÿ95ÿ@4A6;>ÿA479O
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                I-F01Gÿ)Gÿ-'@ÿ90/F,(Kÿ119L
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   $3'()*'0302ÿ M,+ÿ-+.(ÿG,1-                             ÿ                                  ÿ$3'()*'0302ÿ
   2263$ÿ08                                                                                        2263$ÿ08
   567A:<ÿC;<DE>/01-ÿ7)/+7)(- ÿ'ÿM,+ÿ(.8I-ÿ0222'$20
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   206$Nÿ78                                                                                        206$Nÿ78
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              OFFICE OF THE SHERIFF
                    City and County of Philadelphia

                       REAL ESTATE DIVISION

    Mortgage Sale Date                               Filing Date
    January 11, 2022                                 October 18, 2021

    February 1, 2022                                November 15, 2021

    March 1, 2022                                   December 20, 2021

    April 5, 2022                                    January 18, 2022

    May 3, 2022                                     February 14, 2022

    June 7, 2022                                     March 14, 2022

    July 12, 2022                                     April 18, 2022

    August 2, 2022                                    May 16, 2022

    September 13, 2022                                June 13, 2022

    October 4, 2022                                   July 18, 2022

    November 1, 2022                                 August 15, 2022
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    December 6, 2022                                September 19, 2022




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 Part 1:        Identify the Claim

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 :KHUHVKRXOGQRWLFHV               :KHUHVKRXOGQRWLFHVWRWKHFUHGLWRUEHVHQW"                             :KHUHVKRXOGSD\PHQWVWRWKHFUHGLWRUEHVHQW" LI
   DQGSD\PHQWVWRWKH                                                                                           GLIIHUHQW
   FUHGLWRUEHVHQW"
                                      -XVWLQ / .ULN (VTXLUH
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   )HGHUDO5XOHRI                    1DPH                                                                       1DPH
   %DQNUXSWF\3URFHGXUH
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                                      1XPEHU     6WUHHW                                                        1XPEHU     6WUHHW
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

 'R\RXKDYHDQ\QXPEHU        ✔ 1R
                                 
   \RXXVHWRLGHQWLI\WKH        <HV/DVWGLJLWVRIWKHGHEWRU¶VDFFRXQWRUDQ\QXPEHU\RXXVHWRLGHQWLI\WKHGHEWRUBBBBBBBBBBBBBBBB
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 +RZPXFKLVWKHFODLP"                             'RHVWKLVDPRXQWLQFOXGHLQWHUHVWRURWKHUFKDUJHV"
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 :KDWLVWKHEDVLVRIWKH      ([DPSOHV*RRGVVROGPRQH\ORDQHGOHDVHVHUYLFHVSHUIRUPHGSHUVRQDOLQMXU\RUZURQJIXOGHDWKRUFUHGLWFDUG
   FODLP"
                                 $WWDFKUHGDFWHGFRSLHVRIDQ\GRFXPHQWVVXSSRUWLQJWKHFODLPUHTXLUHGE\%DQNUXSWF\5XOH F 
                                 /LPLWGLVFORVLQJLQIRUPDWLRQWKDWLVHQWLWOHGWRSULYDF\VXFKDVKHDOWKFDUHLQIRUPDWLRQ

                                 0RQH\ ORDQHG DQG &RQVHQW -XGJPHQW
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                                           1DWXUHRISURSHUW\
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                                                             Attachment 2IILFLDO)RUP$ ZLWKWKLV Proof of Claim.
                                            0RWRUYHKLFOH
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                                           H[DPSOHDPRUWJDJHOLHQFHUWLILFDWHRIWLWOHILQDQFLQJVWDWHPHQWRURWKHUGRFXPHQWWKDWVKRZVWKHOLHQKDV
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                                           $PRXQWQHFHVVDU\WRFXUHDQ\GHIDXOWDVRIWKHGDWHRIWKHSHWLWLRQ           BBBBBBBBBBBBBBBBBBBB


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 Part 3:    Sign Below

 7KHSHUVRQFRPSOHWLQJ           Check the appropriate box:
 WKLVSURRIRIFODLPPXVW
 VLJQDQGGDWHLW           ,DPWKHFUHGLWRU
 )5%3 E                ✔ ,DPWKHFUHGLWRU¶VDWWRUQH\RUDXWKRUL]HGDJHQW
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 ,I\RXILOHWKLVFODLP       ,DPWKHWUXVWHHRUWKHGHEWRURUWKHLUDXWKRUL]HGDJHQW%DQNUXSWF\5XOH
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                               ,DPDJXDUDQWRUVXUHW\HQGRUVHURURWKHUFRGHEWRU%DQNUXSWF\5XOH
 WRHVWDEOLVKORFDOUXOHV
 VSHFLI\LQJZKDWDVLJQDWXUH
 LV                              ,XQGHUVWDQGWKDWDQDXWKRUL]HGVLJQDWXUHRQWKLVProof of ClaimVHUYHVDVDQDFNQRZOHGJPHQWWKDWZKHQFDOFXODWLQJWKH
                                  DPRXQWRIWKHFODLPWKHFUHGLWRUJDYHWKHGHEWRUFUHGLWIRUDQ\SD\PHQWVUHFHLYHGWRZDUGWKHGHEW
 $SHUVRQZKRILOHVD
 IUDXGXOHQWFODLPFRXOGEH       ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLVProof of ClaimDQGKDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXH
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           6HFRQGWRGHWHUPLQHZKHWKHUFDXVHVRIDFWLRQDUHLGHQWLFDOIRUSXUSRVHVRIUHV

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            'HEWRUDOVRZURQJIXOO\DWWHPSWVWRDUJXHWKDWWKHLVVXHZDVQRWGHWHUPLQHGEHFDXVH

&UHGLWRUIDLOHGWRUHVSRQGLQZULWLQJWRWKHLVVXHDVUDLVHGDV'HEWRU¶V1HZ0DWWHUVHH$QVZHU

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DOOHJDWLRQVRIWKHVDPHXQFUHGLWHGSD\PHQWV7KLVGHWHUPLQDWLRQLVHVVHQWLDOWRWKHMXGJPHQW

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LQWKHVWDWHFRXUW&UHGLWRULVVSHFLILFDOO\DUJXLQJWKDWVXFKFRQFOXVLRQZDVDOUHDG\PDGHDQG

FDQQRWEHDGGUHVVHGRUPRGLILHGE\WKLV&RXUW7KLV&RXUWWHFKQLFDOO\QHHGQRWHYHQUXOHRQWKH

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                'HEWRU¶VEULHILV\HWDQRWKHUDWWHPSWWRUHOLWLJDWHGLVSXWHGIDFWVVWDWLQJWKHVDPH

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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    ------------------------------------------------------x
    In re                                                 :
                                                          :     Chapter 13
             GABRIEL BRAVO                                :
                                                          :     Bankruptcy No. 21-12926(MDC)
                                        Debtor.           :
    ------------------------------------------------------x

                            PRAECIPE TO WITHDRAW DOCUMENT

    TO THE CLERK OF THE BANKRUPTCY COURT:

            Kindly withdraw the following document filed by the City of Philadelphia:

    Objection to Debtor’s Motion for Permission to Sell Real Estate, filed on March 2, 2022

    [Docket No. 54].

                                                         Respectfully submitted,

                                                         THE CITY OF PHILADELPHIA

    Dated: October 6, 2022                      By:      /s/ Pamela Elchert Thurmond
                                                         PAMELA ELCHERT THURMOND
                                                         Senior Attorney
                                                         PA Attorney I.D. 202054
                                                         City of Philadelphia Law Department
                                                         Tax & Revenue Unit
                                                         1401 JFK Blvd., 5th Floor
                                                         Philadelphia, PA 19102-1595
                                                         215-686-0508 (phone)
                                                         215-686-0588 (facsimile)
                                                         Email: Pamela.Thurmond@phila.gov




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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                       :       Chapter 13

 Gabriel Bravo,                                :

                  Debtor.                      :      Bankruptcy No. 21-12926-MDC


                                         ORDER
          AND NOW, on October 28, 2021, Gabriel Bravo (the “Debtor”) filed a voluntary

 petition under chapter 13 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the

 “Bankruptcy Code”). 1

          AND, on November 1, 2021, E-Z Cashing, LLC (“Claimant,” and together with the

 Debtor, the “Parties”) filed a proof of claim (the “Claim”) against the Debtor, asserting a claim

 of $139,800.54, based on a judgment obtained against the Debtor on November 29, 2016, in the

 Court of Common Pleas of Philadelphia County, Pennsylvania (the “Pennsylvania Court”), and

 the subsequent reassessment of damages under that judgment, by Order entered by the

 Pennsylvania Court on June 2, 2021 (the “Damages Reassessment Order”). 2

          AND, on November 19, 2021, the Debtor filed an objection to the Claim (the “Claim

 Objection”), on the grounds that the Damages Reassessment Order did not consider any post-

 judgment payments the Debtor made to Claimant, which were asserted to total $31,784.00 (the

 “Post-Judgment Payments”). 3

          AND, on December 13, 2021, the Claimant filed a response to the Claim Objection (the




 1
     Bankr. Docket No. 1.
 2
     Claim 1-1.
 3
     Bankr. Docket No. 18.




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 “Response”), 4 asserting that the Damages Reassessment Order is a final order and denying that

 it failed to consider the asserted Post-Judgment Payments, which the Debtor raised in his Answer

 to the Claimant’s motion to reassess damages in the Pennsylvania Court by asserting the Post-

 Judgment Payments as a New Matter (the “Answer and New Matter”).

           AND, on February 15, 2022, the Court held an evidentiary hearing (the “Hearing”) on the

 Claim Objection and the Response, after which the Court directed the Parties to submit post-

 Hearing briefs (the “Briefs”) addressing whether the asserted Post-Judgment Payments issue was

 actually litigated before and decided by the Pennsylvania Court.

           AND, on March 18, 2022, the Parties submitted the Briefs. 5

           AND, upon consideration of the Claim, the Claim Objection, the Response, the evidence

 presented at the Hearing, and the Briefs.

           It is hereby ORDERED and DETERMINED that:

           1.     The Claim Objection is OVERRULED.

           2.     As an initial matter, the Court finds that it has jurisdiction to determine the

 allowability and amount of the Claim. Claimant argues in its Brief that this Court is barred by

 the Rooker-Feldman doctrine from exercising jurisdiction to determine the allowed amount of

 the Claim, because the Damages Reassessment Order already determined what the Claimant is

 owed. Claimant’s Brief, at §II(d). The Rooker-Feldman doctrine “prohibits District Courts

 from adjudicating actions in which the relief requested requires determining whether the state

 court’s decision is wrong or voiding the state court’s ruling.” Walker v. Horn, 385 F.3d 321,



 4
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     Bankr. Docket Nos. 64, 65.
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 329 (3d Cir. 2004) (internal quotation omitted). For Rooker-Feldman to apply, four elements

 must be met: (1) the federal plaintiff must have lost in state court, (2) the plaintiff must complain

 of injuries stemming from the state court judgment, (3) the state court judgment was rendered

 before the federal suit was initiated, and (4) the plaintiff is inviting the district court to review

 and reject the state court judgment. Great Western Mining & Mineral Co. v. Fox Rothschild,

 615 F.3d 159, 166 (3d Cir. 2010).

         3.      Whether or not the other elements are met, the Court finds the second is not. The

 Claim Objection is not complaining of injuries stemming from the Damages Reassessment

 Order. The Debtor’s objection is based on the Claimant’s alleged failure to credit the Debtor for

 the Post-Judgment Payments the Debtor allegedly made during his prior bankruptcy cases. That

 alleged failure pre-existed the Damages Reassessment Order, and therefore it is not the Damages

 Reassessment Order that inflicted the injury for which the Debtor now seeks relief. See id.

 (“[W]hen the source of the injury is the defendant’s actions (and not the state court judgments),

 the federal suit is independent, even if it asks the federal court to deny a legal conclusion reached

 by the state court … A useful guidepost is the timing of the injury, that is, whether the injury

 complained of in federal court existed prior to the state-court proceedings and thus could not

 have been ‘caused by’ those proceedings.”). The Court is therefore not precluded by the

 Rooker-Feldman doctrine from exercising jurisdiction to determine the allowability and amount

 of the Claim.

         4.      Notwithstanding that the Court has jurisdiction to determine allowance of the

 Claim, the Claimant also argues that the principles of res judicata and collateral estoppel bar the

 Claim Objection. Claimant’s Brief, at §§II(b) and (c). Here the Claim is based on the


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 Damages Reassessment Order entered by the Pennsylvania Court. Claimant is correct that the

 Court must apply Pennsylvania claim preclusion law to determine the preclusive effect of a

 Pennsylvania judgment. McNasby v. Crown Cork and Seal Co., Inc., 888 F.2d 270, 276 (3d Cir.

 1989). Under Pennsylvania law, the invocation of res judicata requires that the two actions

 share an identity of the: (1) thing sued upon or for; (2) cause of action; (3) persons and parties to

 the action; and (4) capacity of the parties to sue or be sued.” O’Leary v. Liberty Mut. Ins. Co.,

 923 F.2d 1062, 1065 (3d Cir. 1991).

        5.      Critically, it applies not only to claims actually litigated, but also to claims which

 could have been litigated during the first proceeding if they were part of the same cause of

 action. Moncrief v. Chase Manhattan Mortg. Corp., 275 Fed. Appx. 149, 153 (3d Cir. 2008)

 (quoting Balent v. City of Wilkes-Barre, 542 Pa. 555, 669 A.2d 309, 313 (1995) and finding that

 the appellant’s fraud claim was barred under Pennsylvania claim preclusion law because it was

 based on the same transaction as the mortgage forming the basis of a foreclosure action, and

 therefore it could have been raised in that action); Balent, 669 A.2d at 313 (drawing the

 distinction between res judicata, which bars a later action on claims which could have been

 litigated during the first proceeding if they were part of the same cause of action, and collateral

 estoppel, which prevents re-litigation of an issue in a later action, even if based on a different

 cause of action) (citing Allen v. McCurry, 449 U.S. 90, 94, 101 S. Ct. 411, 414 (1980)).

        6.      Here, the elements of res judicata are met. There can be no dispute that the

 action in the Pennsylvania Court and the present action involve the same parties in the same

 capacity. Moreover, the Claimant’s claim in the Pennsylvania Court was for asserted damages

 based on the Debtor’s default on a loan. The Debtor’s assertion that he should be credited for


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 his Post-Judgment Payments in determining the Claimant’s damages was part of the same

 transaction and the same cause of action. The Debtor could have litigated the Post-Judgment

 Payments in connection with the Damages Reassessment Order, and in fact raised the issue in his

 Answer and New Matter. Whether the Pennsylvania Court considered and rejected the Post-

 Judgment Payments, or alternatively did not consider them at all because the Debtor failed to

 properly follow Pennsylvania procedure in asserting them, 6 does not change the fact that they

 arose from the same claim and cause of action as the Claimant’s and could have been litigated in

 connection therewith. Res judicata therefore bars the Debtor from asserting them here as the

 basis for the Claim Objection. 7


 Dated: October 18, 2022
                                                          MAGDELINE D. COLEMAN
                                                          CHIEF U.S. BANKRUPTCY JUDGE

 David A. Scholl, Esquire
 Law Office of David A. Scholl
 512 Hoffman Street
 Philadelphia, PA 19148

 Justin L. Krik, Esquire
 Krik Law
 1500 John F. Kennedy Boulevard, Suite 630
 Philadelphia, PA 19102

 6
   Claimant asserts the Debtor failed to comply with Pa. R.C.P. 1026(a) in asserting a claim for credit for
 the Post-Judgment Payments in his Answer and New Matter. The Pennsylvania Court did not, however,
 address the Post-Judgment Payments or the Answer and New Matter in the Damages Reassessment
 Order, and this Court therefore is unable to determine the basis for that Court not crediting the alleged
 payments.
 7
   Although the Claim Objection is barred by the application of res judicata, the Court notes that, based on
 the record made at the Hearing, and in particular the testimony of the Claimant’s principal, Joel Weiser,
 there was compelling evidence the Claimant failed to credit a significant amount of Post-Judgment
 Payments the Debtor made when seeking the Damages Reassessment Order. The Court found Mr.
 Weiser’s testimony not credible and elusive. Nonetheless, the Court does not resolve that issue in light
 of its finding that res judicata precludes it.
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 Kenneth E. West, Esquire
 Chapter 13 Standing Trustee
 1234 Market Street, Suite 1813
 Philadelphia, PA 19107

 United States Trustee
 Custom House
 200 Chestnut Street, Suite 502
 Philadelphia, PA 19106




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  IN THE UNITED STATES BANKRUPTCY COURT FOR THE EASTERN DISTRICT
                          OF PENNSYLVANIA

 In Re: GABRIEL BRAVO,
             Debtor                                            :     CHAPTER 13

                                                               :   BANKRUPTCY NO. 21-12926


          DEBTOR’S MOTION FOR RECONSIDERATION OF COURT’S ORDER OF
                            OCTOBER 18, 2022

         1. The Debtor filed the instant individual chapter 13 bankruptcy case on October 28,

 2021.

         2. On or about November 1, 2021, E-Z Cashing, LLC (“EZ”) filed Proof of Claim No.

 1 in this case, alleging that it had a valid claim secured by the Debtor’s real property at 1122

 South Ninth Street, Philadelphia, PA. 19147, in the amount of $139, 800.54.

         3.   On November 19, 2021, the Debtor filed an Objection to this claim, alleging that the

 claim should be reduced by approximately $30,000 which the Debtor paid to EZ during the

 course of his 2017 and 2018 bankruptcy cases subsequent to the entry of a consent judgment

 entered on November 16, 2015, at which time the Debtor was represented by counsel prior to ,

 counsel in his 2017 bankruptcy case, James D. Moran,Esq., on the obligation at issue, a Note and

 Mortgage of January 31, 2006, in the amount of $71,250, entered in favor of EZ’s assignor and

 assigned to EZ.

         4. The claim of EZ is based entirely on an Order of the Court of Common Pleas of

 Philadelphia County (“the CCP”) of June 2, 2021 (“the CCP Order”), reassessing EZ’s damages

 from the judgment described above in the amount of $136,865.70.

         5.   The Debtor alleged that the claim must be reduced by the amount of his payments to

 EZ during the 2017 and 2018 bankruptcies.

         6.   A Zoom trial including evidence relevant to this issue was conducted by this court

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 on February 15, 2022.

        7.   After the trial, this court directed that the parties simultaneously file briefs addressing

 the stay relief aspects of the case by March 1, 2022, and addressing the claim objection issues by

 March 18, 2022.

        8. In the hearing, EZ’s principal, Joel Weiser, testified that he received certain payments

 from the Debtor, but he claimed that he did not know the amount. He did admit that he had not

 returned nor credited any of those payments.

        9. The Debtor testified, and supported his testimony with receipts, that he had paid at

 least five $720 payments during his 2017 bankruptcy case and made payments of $1288/month

 from October, 2018, through February, 2020, and thereafter at least four payments of

 $1040/month in 2020 during his 2018 bankruptcy case. He also paid $500 to EZ during this case,

 which Weiser did not deny was paid and must be credited.

        10. EZ presented certain documents relating to the motion which it had filed in the

 CCP in 2021 to reassess damages on the judgment. In its initial Motion for ressessment , EZ

 purported to give the Debtor credit for four payments made by the Debtor to it during the 2017

 bankruptcy case. The Debtor pleaded that he had made the additional payments referenced

 above during the 2017 and 2018 bankruptcy cases in New Matter included in his Answer to the

 Motion to Reassess Damages.

        10. No response was filed to that New Matter, nor has EZ ever denied that the Debtor

 made payments to it during the 2017 and 2018 bankruptcy cases which was not credited to the

 amount claimed by EZ, which totaled over $30,000. No attempt was made to explain why EZ

 believed that the Debtor was entitled to a credit for a few payments in the course of the 2017

 case and nothing for the much larger payments in excess of $30,000 made during the course of


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 the 2018 bankruptcy case.

        11. On June 2, 2021, without any accompanying opinion, the CCP entered the CCP

 Order which set the reassessed damages at $136,800.54. EZ has attempted to argue that, in

 doing so, the CCP intended to disregard the payments which the Debtor made to EZ during the

 2017 and 2018 bankruptcy cases. This conclusion flies in the face of the universally recognized

 maxim that, if a creditor is paid a certain sum by a debtor after a judgment is entered, that sum

 must, at some point, be deducted from the amount due to the creditor. Cf. Heckman v. Reading

 Area Water Authority, 560 B.R. 657, 686-89 (Bankr. E.D. Pa. 2016) (alleged missing payment

 to creditor not established to have been credited was credited to debtor). Any contrary rule

 would encourage misconduct on the part of the creditor.

        12. More significantly, the duty of candor and honesty to the court requires the

 disclosure of payments actually received and retained by EZ without crediting same to the

 Debtor. See Rule of Professional Conduct 3.3 Candor to the Tribunal (b), (c) (lawyer has a

 continuing duty not to encourage a client to engage in fraudulent conduct). It is submitted that

 refusing to admit that EZ has accepted payments and not credited them to the Debtor is

 fraudulent conduct.

        13. This court rendered its decision on the Objection on October 18, 2022. The

 sole articulated basis for the decision was the doctrine of res judicata, the court having properly .

 rejected the argument of EZ that its position was supported by the Rooker-Feldman Doctrine.

 In its res judicata analysis, this court stated that the reassessment of damages constituted the

 same “thing sued upon” and same “cause of action” as EZ’s claim against the Debtor. However,

 this court conceded that, because the state court entering the reassessment order never explained

 its decision and therefore it was impossible to determine “[w]hether the Pennsylvania Court



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 considered and rejected the Post-Judgment Payments, or alternatively did not consider them at

 all” for any reason, and that this circumstance “does not change the fact that they arose from the

 same claim and cause of action” as the EZ Claim.

        14. In totally overruling the Debtor’s objections, this court neglected to give the Debtor

 any credit for the $500 payment after the filing of this bankruptcy case which even Joel

 Weiser, the principal of EZ, and his counsel agreed that he was entitled to be credited.

        15. However, addressing the much more substantial question of the Debtor’s right to

 Credit for any of the more than $30,000 which the Debtor paid to EZ during his 2017 and 2018

 bankruptcy cases for which this court refused to give the Debtor credit, it is submitted that

 there was no basis to conclude here that the amount of a reassessment and the total

 claim of EZ are in fact the same thing and the same cause of action. That there is a distinction

 is supported by the principle that a creditor is bound to give credit to its debtor for all payments

 which are made to it and retained under the general principles of honesty and good faith

 between parties who engage in any transaction, be it in a business or in a non-business

 consumer transaction. When the most basic elements of honesty and good faith is in

 substantial part violated by one of the parties to any transaction, that party is chargeable

 with extrinsic fraud from which any court of law must deny that party relief which serves

 the fraudulent actions of that party. In such a case, the court must refrain from applying

 such theories as res judicata to serve the ends of the perpetuator of fraud. See Long v. Shorebank

 Development Corp., 182 F.3d 548 (7th Cir. 1999)).

        16. This court recognized the inherently fraudulent conduct of EZ when it characterized

 the testimony of Mr. Weiser, the principal of EZ who attempted to justify his refusal to credit the

 payments made to it by the Debtor, as “not credible and elusive.” This characterization was, if



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 anything, a gross understatement. The actions of Mr. Weiser were nothing short of a brazen

 attempt to cheat the Debtor by failing to give him any credit for payments in excess of $30,000

 made to him in good faith and in no way returned to him for no justifiable reason. No court of

 equity can rightfully support such conduct on any legal or logical basis. Thus, in Long, supra,

 where the court observed that the plaintiff was subjected to fraud which was comparable in scope

 and nature to that perpetuated here by Weiser, the court refused to apply res judicata in the

 wrongdoer’s favor. 182 F.3d at 561-62. The Debtor would be justified in asserting this argument

 in an appeal or a new, separate proceeding instituted in this bankruptcy case.

          17. The instant Motion is maintained pursuant to Federal Rule of Bankruptcy Procedure

 9023, which incorporates Federal Rule Federal Rule of Civil Procedure (“FRCP”) 59. Motions

 pursuant to FRBP 9023 or FRCP 59 are appropriate when there is either (1) an intervening

 change in the law; (2) availability of new evidence which was not available when the order was

 entered; and (3) a need to correct a clear error of law or a need to prevent a manifest injustice.

 See, e.g., Max’s Seafood Café ex rel Lou-Ann, Inc. v. Quinteros, 176 F.3d 669, 677 (3d Cir.

 1990); and In re Reading Broadcasting, Inc., 386 B.R. 562, 567 (Bankr. E.D. Pa. 2008).

 Criterion (3) may be invoked here, because this court failed to consider the effect of the law

 providing that the failure of a litigant to deal with another with whom he contracts with honesty

 and good faith constitutes fraud which precludes the application of res judicata in that party’s

 favor.




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                 WHEREFORE, the Debtor requests that this court will enter an Order to vacate,

 alter, or amend the Order of October 18, 2022, overruling his Objections to EZ’s proof of claim

 filed in this case.

                                      ___________________________________
                                      /s/ DAVID A. SCHOLL
                                      512 Hoffman Street
                                      Philadelphia, Pennsylvania 19148
                                      610-550-1765.
                                      Attorney for Debtor




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         RIWKHDYHUPHQWFKDUDFWHUL]LQJWKHSURRIRIFODLPDV³DOOHJHG´RURWKHUZLVHLQVLQXDWLQJ

         LQYDOLGLW\LVGHQLHGDVDFRQFOXVLRQRIODZWRZKLFKQRUHVSRQVHLVUHTXLUHG




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       HQWLUHW\:LWKRXWZDLYHUDQGE\ZD\RIIXUWKHUUHVSRQVHWKHDOOHJDWLRQVFRQWDLQHGLQ

       'HEWRU¶V2EMHFWLRQWR&ODLPKDYHEHHQRYHUUXOHGE\WKLV&RXUWEDVHGXSRQWKHGRFWULQH

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       RIGDPDJHVHQWHUHGE\WKH&RXUWRI&RPPRQ3OHDV2UGHUGDWHGZKLFKLVILQDO

       DQGXQDSSHDODEOH7KHEDODQFHRIWKH32&DUHLQWHUHVWFKDUJHVSXUVXDQWWRWKHFRQVHQW

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       WRZKLFKQRUHVSRQVHLVUHTXLUHGSXUVXDQWWRWKHDSSOLFDEOHUXOHV:LWKRXWZDLYHUDQGE\

       ZD\RIIXUWKHUUHVSRQVHWKLVDOOHJDWLRQDQGFODLPVDVVRFLDWHGWKHUHZLWKKDYHEHHQ

       DGMXGLFDWHGE\WKH6WDWH&RXUWDQGDUHEDUUHGIURPEHLQJUHOLWLJDWHGXQGHUWKHGRFWULQHRI

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       ZDVXQDEOHWRUHOLWLJDWHWKHVHDOOHJDWLRQVRUFKDQJHWKHDGMXGLFDWLRQRIWKH6WDWH&RXUW

       EDVHGXSRQWKHGRFWULQHRIres judicata)XUWKHUPRUHSRVWKHDULQJDQGDQ\UHDVRQDEOH

       RSSRUWXQLW\IRUGLVFRYHU\'HEWRUVFRXQVHOLQDSSURSULDWHO\VRXJKWWRREWDLQDGGLWLRQDO

       DOOHJHGHYLGHQFHIURP5HVSRQGHQWWRVXSSRUW'HEWRU¶VEULHIRQWKHLVVXHRIZKHWKHUWKH

       FODLPVZHUH³DFWXDOO\OLWLJDWHG´GHPRQVWUDWLQJWKDWWKHUHZDVLQVXIILFLHQWHYLGHQFHRQ

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       DGPLWWHGWKDW'HEWRUSOHGKLVFODLPVIRUDGGLWLRQDOSD\PHQWVLQKLV$QVZHUZLWK1HZ

       0DWWHUWRWKH6WDWH&RXUW0RWLRQWR5HDVVHVV'DPDJHVDQDGPLVVLRQWKDWVXFKFODLPV

       QRWRQO\FRXOGEHUDLVHGEXWZHUHUDLVHGLQWKH6WDWH&RXUWDFWLRQ

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       ILQDODQGXQDSSHDODEOH2UGHUWKDW5HVSRQGHQWZDVUHTXLUHGWRSURYLGHDQ\

       LQIRUPDWLRQRQWKHDOOHJHGLVVXHWRWKH'HEWRU'HEWRU¶VFKDUDFWHUL]DWLRQWKDW

       5HVSRQGHQW¶VODFNRIUHVSRQVHWRRUODFNRIH[SODQDWLRQRI'HEWRU¶VDOOHJDWLRQVLV




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       VXFKDOOHJDWLRQEHLQJVSHFLILFDOO\GHQLHG1RZ'HEWRU¶VFRXQVHOKDVLQDSSURSULDWHO\

       DFFXVHG5HVSRQGHQW¶VFRXQVHORIYLRODWLQJDGXW\RI&DQGRUWRWKH7ULEXQDOVDPHEHLQJ

       VSHFLILFDOO\GHQLHG'HEWRU¶VFRXQVHOIDLOVWRDFFHSWUHVSRQVLELOLW\IRUWKHSOHQWLWXGHRI

       SURFHGXUDOHUURUVRQHRIZKLFKEHLQJWKHIDLOXUHWRDSSHDOWKH6WDWH&RXUW¶V2UGHU

       ZKLFKKDVOHGWRWKLVVLWXDWLRQLQZKLFK'HEWRU¶VFODLPREMHFWLRQVDUHEDUUHGDVZDV

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       WKH2SLQLRQVSHDNVIRUWKH&RXUW:LWKRXWZDLYHUDQGE\ZD\RIIXUWKHUUHVSRQVH

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       'HEWRULQ6WDWH&RXUWDQGWKHUHIRUHSUHVXPHGWRKDYHEHHQFRQVLGHUHGE\WKH6WDWH&RXUW

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       :LWKRXWZDLYHUDQGE\ZD\RIIXUWKHUUHVSRQVH'HEWRU¶VUDWLRQDOHLVPLVSODFHGLQWKDWD

       UHDVVHVVPHQWRIGDPDJHVLQIRUHFORVXUHSURFHHGLQJVLVVSHFLILFDOO\IRUWKHSXUSRVHRI

       GHWHUPLQLQJWKHFUHGLWRU¶VSRVWMXGJPHQWWRWDOFODLPDWDJLYHQSRLQWLQWLPH,QWKLV

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       LQFOXGHLQWHUHVWWKH\DUHGLUHFWO\UHODWHGDQGDULVHIURPWKHVDPHFODLPRUFDXVHRI

       DFWLRQ7KHEDODQFHRIWKLVDYHUPHQWLVGHQLHGDVDFRQFOXVLRQRIODZWRZKLFKQR

       UHVSRQVHLVUHTXLUHG1RWZLWKVWDQGLQJ'HEWRU¶VDOOHJDWLRQVRIIUDXGDUHLQDSSURSULDWH

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       RIIVHWE\WKH6WDWH&RXUWPHDQVWKDW'HEWRU¶VODFNRIFUHGLWFRXOGQRWEHIUDXGEXWWKH




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       WRZKLFKQRUHVSRQVHLVUHTXLUHGSXUVXDQWWRWKHDSSOLFDEOH5XOHV:LWKRXWZDLYHUDQG

       E\ZD\RIIXUWKHUUHVSRQVHZKLOHJLYLQJGHIHUHQFHWRWKLV&RXUW¶VFKDUDFWHUL]DWLRQRIWKH

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       1RWZLWKVWDQGLQJ'HEWRU¶VDOOHJDWLRQVRIIUDXGDUHLQDSSURSULDWHDQGVODQGHURXV

       $UJXHQGRWKHIDFWUHPDLQVWKDWZHDUHQRWDZDUHRIZK\WKH'HEWRU¶VFODLPVIRUFUHGLWV

       ZHUHGHQLHGE\WKH6WDWH&RXUWRUZK\(=&KDVLQJ//&¶VHQWLUHFODLPIRUUHDVVHVVHG

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       FKDQJHLQODZQRQHZHYLGHQFHDQGQRHUURURIODZ$UJXHQGRWKHIDFWUHPDLQVWKDW

       ZHDUHQRWDZDUHRIZK\WKH'HEWRU¶VFODLPVIRUFUHGLWVZHUHGHQLHGE\WKH6WDWH&RXUW

       RUZK\(=&KDVLQJ//&¶VHQWLUHFODLPIRUUHDVVHVVHGGDPDJHVZDVQRWDZDUGHG%XW

       WKHIDFWWKDWWKHUHLVDSRVVLELOLW\WKDWWKHVHFODLPVZHUHRIIVHWE\WKH6WDWH&RXUWPHDQV

       WKDW'HEWRU¶VODFNRIFUHGLWFRXOGQRWEHIUDXGEXWWKHUHVXOWRIILQDORUGHURIWKH6WDWH

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 IN THE UNITED STATES BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF
                           PENNSYLVANIA

 IN RE: GABRIEL BRAVO,                                      :       CHAPTER 13
         Debtor
                                                           :       BANKRUPTCY NO. 21-12926


                                      NOTICE OF APPEAL


                GABRIEL BRAVO, the Debtor in the above case (“the Debtor”), hereby appeals

 to the United States District Court for the Eastern District of Pennsylvania, under 28 U.S.C.

 section 158(a)(1), from the Orders entered in this case dated November 22, 2022, which denied

 in significant part, the Debtor’s Motion for Reconsideration of the Court’s Order of October 18,

 2022, which overruled the Debtor’s Objection to the Proof of Claim filed in this case by E-Z

 Cashing, LLC. The names of all parties interested in the Order and the names, addresses, and

 telephone numbers of their respective attorneys are as follows:

 Parties: The Debtor; E-Z Cashing, LLC; Kenneth West; United States Trustee's Office

 Attorney for Debtor: David A. Scholl, Esq., 512 Hoffman St., Philadelphia, PA. 19148, 610-

 550-1765

 Attorney for E-Z Cashing, LLC, Justin L. Krik, Esq., Krik Law, 1500 JFK Blvd., Suite 630,

 Philadelphia, PA. 19103, 267-381-3180

 Kenneth West, Standing Chapter 13 Trustee, 1234 Market St., Suite 1813, Philadelphia, PA.

 19107, 215-627-1377




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 United States Trustee’s Office, 900 Market St., Suite 300, Philadelphia, PA. 19107, 215-597-

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                                                    _______________________
                                                    /s/DAVID A. SCHOLL
                                                    512 Hoffman Street
                                                    Philadelphia, PA. 19148
                                                    610-550-1765
                                                    Attorney for Appellant




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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                       :       Chapter 13

 Gabriel Bravo,                                :

                  Debtor.                      :      Bankruptcy No. 21-12926-MDC


                                         ORDER
          AND NOW, on October 28, 2021, Gabriel Bravo (the “Debtor”) filed a voluntary

 petition under chapter 13 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the

 “Bankruptcy Code”). 1

          AND, on November 1, 2021, E-Z Cashing, LLC (“Claimant,” and together with the

 Debtor, the “Parties”) filed a proof of claim (the “Claim”) against the Debtor, asserting a claim

 of $139,800.54, based on a judgment obtained against the Debtor on November 29, 2016, in the

 Court of Common Pleas of Philadelphia County, Pennsylvania (the “Pennsylvania Court”), and

 the subsequent reassessment of damages under that judgment, by Order entered by the

 Pennsylvania Court on June 2, 2021 (the “Damages Reassessment Order”). 2

          AND, on November 19, 2021, the Debtor filed an objection to the Claim (the “Claim

 Objection”), on the grounds that the Damages Reassessment Order did not consider any post-

 judgment payments the Debtor made to Claimant, which were asserted to total $31,784.00 (the

 “Post-Judgment Payments”). 3

          AND, on October 18, 2022, the Court entered an Order overruling the Claim Objection




 1
     Bankr. Docket No. 1.
 2
     Claim 1-1.
 3
     Bankr. Docket No. 18.




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 on the grounds that it was barred by application of the doctrine of res judicata (the “Claim

 Objection Order”). 4

          AND, on October 30, 2022, the Debtor filed a motion (the “Motion to Reconsider”) 5

 pursuant to Federal Rule of Civil Procedure 59, made applicable to bankruptcy cases pursuant to

 Rule of Bankruptcy Procedure 9023, for reconsideration of the Claim Objection Order, asserting

 that “a need to correct a clear error of law or a need to prevent a manifest injustice” exists

 because this Court “failed to consider the effect of the law providing that the failure of a litigant

 to deal with another with whom he contracts with honesty and good faith constitutes fraud which

 precludes the application of res judicata in that party’s favor.”

          AND, on November 15, 2022, the Claimant filed a response to the Motion to Reconsider

 (the “Response”). 6

          AND, on November 22, 2022, the Court held a hearing on the Motion to Reconsider and

 the Response (the “Reconsideration Hearing”), at which time the Court ruled that it would deny

 the Motion to Reconsider, with the exception of a $500 payment that Claimant failed to credit

 the Debtor in the Claim and for which the Court failed to account in overruling the Claim

 Objection (the “Bench Ruling”).

          AND, on November 22, 2022, the Court entered an order memorializing the Bench

 Ruling granting in part and denying in part the Reconsideration Motion (the “Reconsideration

 Order”). 7


 4
     Bankr. Docket No. 106.
 5
     Bankr. Docket No. 111.
 6
     Bankr. Docket No. 114.
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     Bankr. Docket No. 118.
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          AND, on December 4, 2022, the Debtor filed a Notice of Appeal with respect to the

 Reconsideration Order. 8

          AND, Rule 8003-1 of this Court’s Local Bankruptcy Rules provides that, where an order

 is the subject of an appeal, within 30 days of the docketing of the notice of appeal, the presiding

 bankruptcy judge may “file a written opinion in support of the order or a written supplemental

 opinion that amplifies any written opinion or recorded oral bench ruling or opinion.” L.B.R.

 8003-1.

          Pursuant to L.B.R. 8003-1, and consistent with the Court’s Bench Ruling, it is hereby

 ORDERED, ADJUDGED, AND DETERMINED that:

          1.      The evidence presented to the Court at the hearing on the Claim Objection

 established that the Debtor argued to the Pennsylvania Court, prior to entry of the Damages

 Reassessment Order, that the Post-Judgment Payments needed to be credited when reassessing

 the Claimant’s damages. The Debtor presented the Pennsylvania Court with the Post-Judgment

 Payments in his response to the Claimant’s motion for reassessment of damages. The

 Pennsylvania Court then issued the Damages Reassessment Order. In the Claim Objection

 Order, this Court explains that because the Post-Judgment Payments not only could have been

 litigated, but actually were, the doctrine of res judicata precluded the Debtor from relitigating the

 issue through the Claim Objection.

          2.      The Reconsideration Motion sought reconsideration of the Claim Objection Order

 on the basis that res judicata is inapplicable because Claimant was bound to act with honesty and

 good faith in seeking the Damages Reassessment Order, and the failure to credit the Debtor for


 8
     Bankr. Docket No. 120.
                                                  3




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 the Post-Judgment Payments constituted extrinsic fraud. In support, the Debtor cited Long v.

 Shorebank Dev. Corp., 182 F.3d 548, 561-62 (7th Cir. 1999), asserting that there the court

 “refused to apply res judicata in the wrongdoer’s favor.” Reconsideration Motion, at 16.

        3.      As the Court observed at the Reconsideration Hearing, however, the facts here are

 nothing like the facts in Shorebank. There, the Seventh Circuit found that res judicata did not

 apply to a state court judgment against a tenant where the landlord had effectively fraudulently

 induced the tenant not to participate in or defend the action. In a subsequent suit in state court

 by the tenant for damages arising from the prior state court judgment, the state court had found

 that the suit was not precluded because the complaint demonstrated the prior judgment was

 procured by fraud and therefore was void. The Seventh Circuit found res judicata did not apply

 because the fraud alleged would have precluded the state court from even having jurisdiction and

 would have rendered its judgment void.

        4.      The Shorebank case is distinguishable from the case here, where there has been

 no finding that the Damages Reassessment Order was procured by fraud. By the

 Reconsideration Motion, Debtor seeks to equate Claimant’s failure to credit the Post-Judgment

 Payments when seeking the Damages Reassessment Order with procuring the judgment by fraud.

 However, where Debtor raised the repayments with the Pennsylvania Court prior to the entry of

 the Damages Reassessment Order, and therefore the Pennsylvania Court presumably considered

 them when issuing the order, there is no basis for asserting that the judgment was procured by

 extrinsic fraud.

        5.      Notwithstanding the above, and as set forth in the Reconsideration Order, because

 Claimant acknowledged that a Post-Judgment Payment the Debtor made in the amount of


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 $500.00 in November 2021 was not credited, the Debtor shall be given credit for that payment.


 Dated: December 30, 2022
                                             MAGDELINE D. COLEMAN
                                             CHIEF U.S. BANKRUPTCY JUDGE

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